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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SARAH PALIN,

             Plaintiff,                      17-cv-4853 (JSR)

      -v-                                    OPINION

 THE NEW YORK TIMES COMPANY
 and JAMES BENNET,

             Defendants.

JED S. RAKOFF, U.S.D.J.:

     At trial, plaintiff Sarah Palin wholly failed to prove her case

even to the minimum standard required by law. Accordingly, defendants

the New York Times Company (the “Times”) and James Bennet moved to

dismiss the case prior to the start of jury deliberations. After

hearing extensive argument, the Court granted the motion shortly after

the jury had begun its deliberations. This Opinion sets forth the

reasons for that decision, as well as the reasons for how the Court

then dealt with the deliberating jury.

     By way of background, on June 14, 2017, defendant Times published

an editorial, approved and materially revised by co-defendant Bennet,

entitled “America’s Lethal Politics” (the “Editorial”). The Editorial

was prompted by the shooting earlier that day of Republican members

of Congress, including Representative Steve Scalise. However, several

sentences in the Editorial could be read to suggest that an earlier

mass shooting -- an attack that occurred in Tucson, Arizona in 2011,

grievously   wounding     Congresswoman   Gabrielle    Giffords   and    killing


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several others -- was prompted by a graphic advertisement circulated

some months earlier by a political action committee (“SarahPAC”)

associated with Palin. The graphic (the “crosshairs map”) featured a

map of the United States with stylized rifle crosshairs superimposed

over congressional districts that SarahPAC had targeted for replacing

incumbent Democratic members of Congress with Republican candidates

in the 2010 midterm elections. Giffords’ district was one of 20

featured on the map.

     Prior to publication of the Editorial, Bennet, the top editor on

the Times’ Editorial Board, had added language asserting a “clear” and

“direct” link between the 2011 shooting and the “political incitement”

generated by the crosshairs map. Although the original author of the

Editorial, several other editors, and a fact checker read the draft

after Bennet’s revision and before publication, none flagged the new

language as inaccurate. Nonetheless, journalists and other readers

began criticizing the “clear” and “direct” allegation immediately

after the Times published the Editorial online. The Times ultimately

issued two corrections (the first approximately 14 hours after the

editorial was published online) stating that no such link had been

established.

     Shortly thereafter, Palin commenced this lawsuit, asserting that

she had been libeled by Bennet and the Times in violation of New York

defamation law.1 After extensive delays occasioned by an intervening


     1 The parties subsequently agreed that Bennet and The New York
Times Co. should be considered as a single unit for the purpose of
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appeal and constraints arising from the COVID-19 pandemic, the Court

held a seven-day jury trial starting on February 3, 2022. Following

the close of evidence, but before the start of jury deliberations,

defendants moved under Fed. R. Civ. P. 50(a) for judgment as a matter

of law. Rule 50(a) provides, in general, that:

       If a party has been fully heard on an issue during a jury trial
       and the court finds that a reasonable jury would not have a
       legally sufficient evidentiary basis to find for the party on
       that issue, the court may:
                 (A)   resolve the issue against the party; and
                 (B)   grant a motion for judgment as a matter of law against
                       the party on a claim or defense that, under the
                       controlling law, can be maintained or defeated only
                       with a favorable finding on that issue.

Fed. R. Civ. P. 50(a). The rule further provides that such a motion

may be “made at any time before the case is submitted to the jury.”

Id. While Rule 50(a) does not expressly require a court to grant or

deny       the    motion   before   jury   deliberations     begin,   it      clearly

contemplates that a court will rule expeditiously.2

       Because this was a serious and case-dispositive motion, the Court

did not rule precipitously. Rather, the Court reserved judgment, first

so that it could hear the lawyers’ closing arguments and then, even

after the jury had begun its deliberations late on Friday afternoon,

so that the Court could receive further written and oral submissions


assessing liability. See ECF 170 (“Jury Instructions”) at 12.
Accordingly, hereinafter, the Court uses “the Times” to refer to both
defendants collectively, except where it is necessary to refer to
Bennet or The New York Times Co. individually.

       If the motion is denied, however, it can be renewed after the
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jury renders its verdict, pursuant to Fed. R. Civ. P. 50(b).

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from counsel. Ultimately, however, by the early afternoon of Monday,

February 14, 2022, the Court had reached the firm conclusion that it

would have to grant the motion for judgment as a matter of law and so

informed the parties.

     At that point, the Court could have simply entered final judgment

in defendants’ favor and dismissed the jury. Instead, however, the

Court, while announcing its decision, explained that it would allow

the jury to continue its deliberations, so that, if the Court of

Appeals were to disagree with the Court’s determination to dismiss the

case as a matter of law, the appellate court would not have to send

the case back for trial, since it would have the benefit of the jury’s

verdict. Moreover, as a technical matter, the Court could then issue

its Rule 50 judgment, post-verdict, pursuant to Rule 50(b). While this

approach was a bit unusual, neither side objected to it in the

slightest.

     Regardless of these procedural niceties, however, the Court never

seriously considered hiding from the parties the firm determination

it had reached to dismiss the case as a matter of law. This, as the

Court noted at the time, would have been grossly unfair to both sides,

who would have been left with the impression that the case was going

to be determined by the jury’s verdict when it was not. Tr. 1298-1299.3

     Therefore, on the afternoon of February 14, 2022, the Court

announced its conclusion that Palin had failed to prove, by the



     3   “Tr. __” citations refer to pages in the trial transcript.

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necessary clear and convincing evidence, that Bennet and The New York

Times Co. had published the allegedly libelous statements with the

state of mind known as “actual malice.” Specifically, after reviewing

all evidence adduced at trial in the light most favorable to Palin and

drawing all reasonable inferences in her favor, the Court concluded

that no reasonable jury could find by clear and convincing evidence

that Bennet or The New York Times Co. knew at the time of publication

that the allegedly libelous statements were false or that Bennet

thought    that   the   challenged   statements        were     probably     false    but

recklessly     proceeded    to   publish       them   anyway.    The    Court   further

indicated that it would likely issue a written opinion detailing the

reasons for these conclusions. Tr. 1307. Hence, this Opinion.

     After    the   Court   announced      its    determination        to   enter   final

judgment for the defendants as a matter of law, the Court, as noted,

still allowed the jury to continued deliberating for the aforementioned

reasons, stating that it would not formally enter the order dismissing

the case until after the jury had rendered its verdict. Tr 1305-1306.

As also noted, no party objected in the slightest to the Court’s plan.

Indeed, the parties were given four opportunities to object to the

procedure -- when the Court made the initial proposal, Tr. 1256; when

the Court indicated it was about to issue its ruling on the motion,

Tr. 1295-1297; after that ruling was delivered, Tr. 1306-1307; and

when the verdict was returned -- and never did so.

     The only issue that was raised -- and then only by counsel for

defendants -- was whether it was necessary to further inoculate the

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jury against the risk that it might learn of the Court’s intended

ruling through media reports. When the Court asked counsel what they

recommended in this regard, plaintiff’s counsel was of the view that

the Court should do nothing and “leave things as is.” Tr. 1307. But

the Court was persuaded by defendants’ counsel to again admonish the

jury that “If you see anything in the media about this case, just turn

away.” Tr. 1308. Even though defendants’ counsel had raised the

possibility (presciently, as it turns out) that some jurors might

receive “push notifications” of the Court’s Rule 50 determination, Tr.

1307, neither side asked for any other relief than the aforementioned

instruction, which was then given to the jury, and accordingly the

Court had no occasion to consider any further steps. Tr. 1307.

        The next afternoon, the jury returned a verdict of “Not Liable.”

In the Court’s view, the verdict further validated the Court’s legal

conclusion that no reasonable juror could find by clear and convincing

evidence that Bennet or the Times had acted with actual malice.

However, this verdict was without immediate legal effect because the

Final    Judgment   entered    that   day   in   favor   of   the   Times   relied

independently on the Court’s decision to grant the Rule 50 motion and

dismiss the case as a matter of law. ECF 171.

        After the jury had been excused, the Court’s law clerk discovered,

during a routine inquiry, that a few jurors had inadvertently received

“push notifications” (alerts automatically generated by news apps

installed on their smartphones) containing the bottom-line of the

Court’s intended Rule 50 determination. See ECF 172. Although these

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jurors   were   adamant   that    this   knowledge     had   not   affected   their

determination of the verdict in the slightest, the Court promptly

notified the parties of this information. See id.

     As detailed toward the end of this Opinion, the Court is of the

firm view that a few jurors’ pre-verdict awareness of news about the

Court’s intended Rule 50 decision did not nullify the jury’s verdict

in any respect. But the more fundamental point is that any effect the

push notifications may have had is legally irrelevant. The Court had

already determined to dismiss Palin’s libel claim as a matter of law

pursuant   to   defendants’      Rule   50   motion,   and   the   Final   Judgment

reflected that determination. Even if one indulges the implausible

hypothesis that the jury would have returned a verdict for Palin absent

the news alerts, the operative final judgment would still have been

the same: dismissal of Palin’s claim as a matter of law.

     The Court now elaborates the reasons for that decision.

I.   Factual Background

     As explained further in § III.B, infra, the Court on a Rule 50

motion must view all evidence in the record in the light most favorable

to the non-moving party, here Palin, and must draw all reasonable

inferences to her benefit. The recitation of relevant facts below

therefore reflects these presumptions.

     A. The Allegedly Libelous Statements

     On June 14, 2017, defendant The New York Times Co. published the

Editorial entitled “America’s Lethal Politics” in response to the

shooting that morning of Representative Steven Scalise and several

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other Republican members of Congress who had been holding a practice

session in suburban Virginia for a charity baseball game. The Editorial

identified the attack as part of a “sickeningly familiar pattern [that

was]       emerging”    of    members      of   Congress      being    targeted    by   people

committing mass shootings. PX-1 at 1.4 The Editorial’s thesis was that

this political violence emerged from the “readily available guns and

ammunition” in the United States and from “deranged” people whose

“derangement          had    found   its    fuel     in   politics”     by    virtue    of    the

increasingly violent rhetoric used in American political discourse.

Id. The “pattern” identified by the Editorial identified only one

prior data point: the January 8, 2011 incident in which Jared Lee

Loughner opened fire in a Tucson, AZ supermarket parking lot during a

“Congress        on   Your    Corner”      event     hosted    by     Representative      Gabby

Giffords, killing six people (including U.S. District Judge John Roll

and a nine-year-old girl) and grievously wounding the Congresswoman.

       In comparing the two shootings, the Editorial, in language that

was added by defendant Bennet to an earlier draft, stated that there

was a “clear” and “direct” “link” between Loughner’s shooting and the

“political incitement” arising from a graphic distributed in March

2010       by   the   political      action     committee      (“PAC”)       associated      with

plaintiff Sarah Palin, who previously served as the Governor of Alaska



       PX-__ citations refer to plaintiff’s exhibits received into
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evidence at trial, and DX-__ citations refer to defendants’ exhibits
received into evidence at trial. Unless otherwise specified, all
internal quotation marks, omissions, elisions, alterations, citations,
and emphases are omitted from all sources cited herein.

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and as the 2008 Republican candidate for Vice President. Specifically,

plaintiff alleges that she was libeled by the following two paragraphs:

       In 2011, when Jared Lee Loughner opened fire in a supermarket
       parking lot, grievously wounding Representative Gabby Giffords
       and killing six people, including a 9-year-old girl, the link to
       political incitement was clear. Before the shooting, Sarah
       Palin’s political action committee circulated a map of targeted
       electoral districts that put Ms. Giffords and 19 other Democrats
       under stylized crosshairs.

       Conservatives and right-wing media were quick on Wednesday to
       demand forceful condemnation of hate speech and crimes by anti-
       Trump liberals. They’re right. Though there’s no sign of
       incitement as direct as in the Giffords attack, liberals should
       of course hold themselves to the same standard of decency that
       they ask for the right.

PX-4. These paragraphs (the “Challenged Statements”) were the fifth

and sixth paragraphs in the twelve-paragraph Editorial. Id. “America’s

Lethal Politics” was published online on The New York Times website

at approximately 9:45 p.m. on June 14, 2017, PX-1, and appeared as the

first of three editorials in the June 15, 2017 print newspaper, PX-4.

Neither Palin, nor SarahPAC, nor the map of targeted congressional

districts was referenced elsewhere in the Editorial or in the headline.

See id.

       Palin alleges that these two paragraphs contain two defamatory

statements. The first paragraph, Palin argues, asserts that her PAC’s

circulation of the so-called crosshairs map was “clear” incitement of

Loughner’s shooting of Representative Giffords and others. See ECF

Jury Instructions at 14. The second paragraph, Palin argues, asserts

that   the   circulation    of   the   crosshairs   map   served   as   “direct”




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“incitement” of the “attack,” or, in other words, that the map caused

Loughner to act. See id.

       Palin contends that both of these paragraphs contain unsupported

or unsupportable factual errors concerning the purported causative

role of Palin’s PAC’s “crosshairs map.” Although the crosshairs map

was widely blamed for inciting Loughner’s violence against Giffords

in the days following that shooting, it was subsequently determined

that       Loughner   suffered   from   mental   illness   and   no   link     between

Loughner’s attack and the crosshairs map was ever established. DX-111

at 3-4. Rather, it was determined that Loughner acted because of his

own personal demons and mental illness. Accordingly, Palin alleges,

it was defamatory for the Editorial to assert that the crosshairs map

was either a “clear” or “direct” incitement to Loughner’s shooting.5

       B. The Original Drafting of the Editorial

       On the morning of June 14, 2017, James Hodgkinson opened fire on

a group of Republican congressmen, who were practicing in suburban

Virginia for an upcoming charity baseball game, wounding four persons,

including Representative Scalise. See Tr. 107; PX-4; DX-12. The idea

of writing an editorial on the shooting was first raised in a brief




       Although not central to Palin’s case, it may also be noted that
       5

the Challenged Statements describe the map as having “put Ms. Giffords
and 19 other Democrats under stylized cross hairs,” PX-4, thereby
suggesting that the crosshairs appeared over images or words signifying
the politicians themselves. However, the map in fact placed the
stylized crosshairs over these 20 Democrats’ congressional districts
on a map of the United States, which was positioned above a list of
the politicians’ names. See DX-61.

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email sent at 10:46 a.m. by Elizabeth Williamson, a member of the

Times’ Editorial Board based in Washington, who covered national

politics. DX-9; Tr. 78-79. The email went to Bennet and two other

editors on the Editorial Board, Robert Semple and Nicholas Fox. DX-9.

A few minutes later, in an email titled “POSSIBLE shooter’s POSSIBLE

social media pages pro-Bernie, anti-Trump,” Williamson circulated a

set of links to Facebook, LinkedIn, and Twitter profiles that her

research suggested belonged to the suspected shooter. DX-13. At 11:49

a.m., after then-President Donald J. Trump had delivered a statement

on the shooting, Semple responded by email approving Williamson’s

proposal to begin drafting an editorial on the shooting, suggesting

that the piece focus on gun control. DX-14. Then, at 12:04 p.m. another

editor, Linda Cohn, replied to Semple’s email, noting that Hodgkinson

had gone to high school in her hometown and writing that it was “hard

to picture any anti-trump sentiment there.” DX-16. Cohn also commented

that she was “thinking back to what a giant story [G]abby Gifford[s]

shooting    was.    Amazing   that   shooting   congressmen    doesn’t      seem   so

shocking now.” Id. The record reflects that this was the first time a

member   of   the    Editorial   Board   linked   the   Virginia      and   Arizona

shootings. Semple, who was a long-tenured member of the Editorial

Board,    reaffirmed    his   earlier    approval,   writing    “OK    we    should

definitely shoot for a piece, not huge, but a piece.” Id.

     Bennet’s first contribution to the discussion came in a 12:41

p.m. reply to Williamson’s email containing Hodgkinson’s suspected

social media profiles and copying Semple, Fox, and Cohn. DX-17.

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Suggesting an additional argument for the Editorial to make, Bennet

wrote:

     Hey Elizabeth -- As Bob has said there’s most likely a gun control
     point to be made here. The other question is whether there's a
     point to be made about the rhetoric of demonization and whether
     it incites people to this kind of violence. Hard for me to imagine
     that Bernie himself is guilty of anything like that. But if
     there’s evidence of the kind of inciting hate speech on the left
     that we, or I at least, have tended to associate with the right
     (e.g., in the run-up to the Gabby Giffords shooting) we should
     deal with that.

Id. Williamson then agreed to begin writing a draft, noting that she

had spoken to Semple. DX-18.

     As the assigned writer, Williamson had primary responsibility for

research,    which    included    both     factual   reporting    and     research   on

opinions previously expressed by the Editorial Board to maintain

consistency    with    those     earlier    positions.   Tr.     88-89.    Williamson

testified that on June 14, 2017, she “was researching the political

rhetoric that was circulating in our discourse in the run-up to the

2011 shooting in Arizona,” not “the shooting itself” or “the state of

mind of the gunman.” Tr. 174.

     To assist Williamson in her research, Semple directed the Board’s

editorial assistant, Phoebe Lett, to search through prior editorials

and send Williamson “four basic gun control pieces (dealing mainly

with the plenitude of weapons and porous controls) that also happen

to mention Gabrielle Giffords.” See DX-21; DX-19.6 Williamson replied



     6 At trial, the four editorials hyperlinked in Lett’s email were
never shown to any witness, their content was never discussed before
the jury, and they were never offered into evidence as part of any
witness’s testimony. The Court accordingly sustained an objection to
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to Lett at 1:40 p.m. asking “is there one that references hate type

speech against [Democrats] in the runup to [Giffords’] shooting? James

referenced that.” DX-22. Lett forwarded this request to Bennet, asking

if he “happen[ed] to know which one she is talking about.” DX-25.

Bennet responded: “No -- I was just wondering if there was such a

piece; that is, did we ever write anything connecting ... the Giffords

shooting to some kind of incitement?” Id. After searching further,

Lett responded “No, but Frank Rich did,” providing a link to a January

15, 2011 Op-Ed column entitled “No One Listened to Gabrielle Giffords,”

DX-24. DX-25. Bennet replied 14 minutes later: “Good for us. Can you

let   Elizabeth   know?”   DX-25.   Lett   then   relayed   Rich’s   column   to

Williamson. DX-23. Viewing the evidence in the light most favorable

to Palin, the Court presumes that Bennet read and understood this

column by Frank Rich before the Editorial was published.

      Rich’s column, written one week after the Loughner shooting,

discussed that attack and other acts of apparent political violence,


plaintiff’s counsel motion to admit pre-marked exhibits containing
these four editorials when they were offered outside the presence of
the jury immediately before closing statements were delivered. See Tr.
1060.

     When asked if he had read these four editorials, Bennet testified
that he did not recall reading any of them. Tr. 705. And Palin neither
adduced any evidence from which the Court could infer that Bennet read
these four editorials nor argued in summation that Bennet’s knowledge
at the time of publication was informed by these four editorials.

     Therefore, the content of these four editorials is not in the
record and, as a matter of law, none of the four is properly considered
as a source for Bennet’s pre-publication knowledge. This is so, even
though the Court must view the evidence most favorably to Palin and
draw all reasonable inferences in her favor.

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arguing about they arose from a combination of violent political

rhetoric, inadequate gun control, and an ineffective mental health

safety net. See DX 24. Rich wrote that it was not yet known whether

Loughner had seen the crosshairs map and that then-President Obama had

“said, correctly ... that ‘a simple lack of civility’ didn’t cause the

Tucson tragedy” or the other incidents he had discussed, such as an

earlier act of vandalism at Giffords’ office. Id. at 1-2. However,

Frank argued that these acts of violence were “inform[ed]” by “an

antigovernment radicalism as rabid on the right now as it was on the

left in the late 1960s.” Id. at 2-3. Rich continued:

     That Loughner was likely insane, with no coherent ideological
     agenda, does not mean that a climate of antigovernment hysteria
     has no effect on him or other crazed loners out there. Nor does
     Loughner’s insanity mitigate the surge in unhinged political
     zealots acting out over the last two years. That’s why so many
     on both the finger-pointing left and the hyper-defensive right
     automatically assumed he must be another of them.

Id. at 3.

     At 2:52 p.m., following Bennet’s request, Lett forwarded to Bennet

the four editorials that she had previously sent to Williamson. DX-

26; DX-27. Lett then kept searching through past editorials and found

two more relevant articles, which she emailed to Bennet at 3:01 p.m.

and Bennet forwarded to Williamson two minutes later with the note “We

dug a little further. Take a look at these two.” PX-128. A few minutes

later,   Bennet    separately    forwarded   the   two   additional    editorials

published    in   the   days   following   the   Loughner   attack    to   a   group

including Semple, Williamson, Fox, and Cohn, writing “FYI -- these two

are more relevant precedent for tonight’s piece.” PX-136. Semple

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replied, “just right. The Obama ‘as we mourn’ in particular.” Id.

Bennet testified that although he does not recall reading these two

editorials, he concluded based on his review of this email traffic

that he “must have read them, because [he] knew something about their

content.” Tr. 608. Viewing the evidence in the light most favorable

to Palin, the Court presumes that Bennet read and understood these two

editorials prior to publication.

      The first of these two editorials, entitled “Bloodshed and

Invective in Arizona,” was published January 9, 2011, the day after

the Arizona shooting. PX-134. It describes the Editorial Board’s

position on the relationships among gun control, violent political

rhetoric, and mental illness and how these forces increase the risk

of political violence and assassination attempts:

     Jared Loughner, the man accused of shooting Ms. Giffords, killing
     a federal judge and five other people, and wounding 13 others,
     appears to be mentally ill. His paranoid Internet ravings about
     government mind control place him well beyond usual ideological
     categories.

     But he is very much a part of a widespread squall of fear, anger
     and intolerance that has produced violent threats against scores
     of politicians and infected the political mainstream with violent
     imagery. With easy and legal access to semiautomatic weapons like
     the one used in the parking lot, those already teetering on the
     edge of sanity can turn a threat into a nightmare.

Id. at 1. “Bloodshed and Invective in Arizona” continues:

     It is facile and mistaken to attribute this particular madman’s
     act directly to Republicans or Tea Party members. But it is
     legitimate to hold Republicans and particularly their most
     virulent supporters in the media responsible for the gale of
     anger that has produced the vast majority of these threats,
     setting the nation on edge. Many on the right have exploited the
     arguments of division, reaping political power by demonizing
     immigrants, or welfare recipients, or bureaucrats. They seem to

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     have persuaded many Americans that the government is not just
     misguided, but the enemy of the people.

Id. at 2.

     The second of these editorials, entitled “As We Mourn,” was

published on January 12, 2011. PX-135. It addressed then-President

Barack H. Obama’s speech at a memorial service in Tucson for the

victims of the Loughner attack:

     This horrific event, he said, should be a turning point for
     everyone -- “not because a simple lack of civility caused this
     tragedy -- it did not -- but rather because only a more civil and
     honest public discourse can help us face up to our challenges as
     a nation.”

Id. at 1-2.7 “As We Mourn” does not include any conclusive statement

regarding the Arizona gunman’s motivations or political convictions,

if any.

     Bennet testified that on June 14, 2017, he relied on the research

Lett conducted on his behalf, and that he never conducted his own

factual research in connection with the Editorial. Tr. 610.

     C. Bennet’s Revisions

     At 4:44 p.m., Williamson uploaded her draft of the Editorial to

“Backfield,” a section of the Times’ content management system that



     7   “As We Mourn” continues:

     The president’s words were an important contrast to the ugliness
     that continues to swirl in some parts of the country. The
     accusation by Sarah Palin that “journalists and pundits” had
     committed a “blood libel” when they raised questions about
     overheated rhetoric was especially disturbing, given the grave
     meaning of that phrase in the history of the Jewish people.

PX-135.

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stores drafts during the editorial process. Tr. 136-137. Williamson

also notified Bennet, Semple, Fox, and Frank Clines (a member of the

Editorial Board who covered gun policy). PX-143. After that point,

Williamson made no further edits to the piece, Tr. 138, and Palin has

not accused her of any actual malice.

     The portion of Williamson’s 4:44 p.m. draft that served as a

precursor to the Challenged Statements reads as follows:

     That in 10 minutes a single gunman could wreak such carnage in a
     bedroom community a short drive from the Capitol is horrifying,
     but no longer surprising. Not all the details are known yet, but
     a sickeningly familiar pattern is emerging: a deranged individual
     with a gun-perhaps multiple guns-and scores of rounds of
     ammunition uses politics as a pretense for a murderous shooting
     spree. Mr. Hodgkinson was a Bernie Sanders supporter and campaign
     volunteer virulently opposed to President Trump, who among many
     anti-Trump messages posted “Time to Destroy Trump & Co.” on social
     media in March.

     Just as in 2011, when Jared Lee Loughner opened fire in a
     supermarket parking lot, grievously wounding Representative Gabby
     Giffords and killing six people, including a nine year-old girl,
     Mr. Hodgkinson’s rage was nurtured in a vile political climate.
     Then, it was the pro-gun right being criticized: in the weeks
     before the shooting Sarah Palin’s political action committee
     circulated a map of targeted electoral districts that put Ms.
     Giffords and 19 other Democrats under stylized crosshairs.

PX-141.

     The underlined word “circulated” in the latter paragraph of

Williamson’s draft was hyperlinked to an ABC News article that is

dated January 9, 2011, the day after the Arizona shooting, and is

entitled “Sarah Palin’s ‘Crosshairs’ Ad Dominates Gabrielle Giffords

Debate.” DX-10; Tr. 144. The article discusses the debate in the wake

of the shooting about whether Palin’s distribution of the crosshairs

map “may have fueled the gunman’s rage,” though it notes in the tenth

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paragraph that “[n]o connection has been made between this graphic and

the Arizona shooting.” DX-10 at 1-2. Bennet testified that he neither

clicked on the “circulated” link in Williamson’s draft nor read the

ABC News article before the Editorial was published. Tr. 609-610.

     After Williamson circulated her draft, Cohn, one of the Editorial

Board editors, reviewed the piece. While reading, she made notes on

her reactions to the draft, for instance asking whether the referenced

to Hodgkinson as “deranged” reflected “signs of mental illness” or was

used “just in the sense that anyone who commits [a] mass shooting is

deranged.” PX140E at 1. Cohn re-saved the draft at 5:03 p.m. Tr. 526;

PX-140E at 2. Then, after she had finished her read-through, Cohn went

to Bennet’s office and told him that she “was just a little confused

about ... what we wanted out of this piece, where it was going....

[She] felt he needed to take a look and weigh in.” Tr. 520. Bennet

recalls that Cohn “did not think it was a great draft.” Tr. 636. Bennet

agreed to take a look. Tr. 522; 636-637. Cohn testified that it was

her decision to take Williamson’s draft and pass it off to Bennet, and

Bennet testified that he had never told either Williamson or Cohn that

he wanted to edit the draft. Tr. 566, 715.

     At approximately 5:03 p.m., after speaking with Cohn, Bennet

opened and read through Williamson’s draft. Tr. 637; DX-30 at 235. He

testified that his impression of Williamson’s draft was that it “read

like a news story, rather than an opinion piece,” and Bennet “felt

like it wasn’t capturing the shock of the attack and kind of the horror

of what had happened.” Tr. 716. Although his initial intent was to

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provide Williamson guidance on rewriting the Editorial, Bennet soon

decided to do the revisions himself:

     I initially started drafting a note to Elizabeth at the top of
     the editorial, trying to provide some instruction on how I thought
     the piece should be rewritten. And at that point I realized how
     late in the day it was getting, and I was concerned about getting
     the piece done in time. So I couldn’t tell you exactly what time
     this was, but I began just editing the piece myself.

Tr. 637. With respect to the time pressure, Bennet testified that the

deadline to submit editorials for print publication the following day

was approximately 8:00 p.m. Tr. 640.

     Bennet   testified    that   in    reading   Williamson’s     draft,   he

interpreted the paragraphs about the Arizona shooting as “the specific

example that Elizabeth returned with of incitement or incendiary

rhetoric, and I just trusted that it was ... an example of that based

on her characterization.” Tr. 719. Bennet further testified that he

thought the relationship Williamson had posited between the crosshairs

map and Loughner’s “made sense” because he suspected that “when

politicians get shot, ... it has something to do with politics,” and

“that an atmosphere of highly charged political rhetoric makes such ...

terrifying events more likely.” Tr. 719-720.

     There are words and phrases in the language about which Palin

complains that appeared in Williamson’s original draft, such as “a

sickeningly familiar pattern is emerging” and “Sarah Palin’s political

action committee circulated a map of targeted electoral districts that

put Ms. Giffords and 19 other Democrats under stylized crosshairs.”

See DX-136 at 2. But Bennet added the key language that Palin argues


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conveys the allegedly defamatory meaning -- the assertion that Palin’s

actions “clear[ly]” and “direct[ly]” caused Loughner to commit a mass

shooting. Id.

     A   redline   of   the   Editorial,    comparing   Bennet’s   revision   to

Williamson’s first draft, was accepted into evidence, and it succinctly

illustrates Bennet’s specific contributions to the two paragraphs

containing the Challenged Statements:

     Just as in Was this attack evidence of how vicious American
     politics has become? Probably. In 2011, when Jared Lee Loughner
     opened fire in a supermarket parking lot, grievously wounding
     Representative Gabby Giffords and killing six people, including
     a nine 9-year-old girl, Mr. Hodgkinson’s rage was nurtured in a
     vile political climate. Then, it was the pro-gun right being
     criticized: in the weeks before the link to political incitement
     was clear. Before the shooting, Sarah Palin’s political action
     committee circulated a map of targeted electoral districts that
     put Ms. Giffords and 19 other Democrats under stylized crosshairs.

     In the aftermath of Wednesday’s shooting, the political right and
     left and both sides in the gun debate dove into their respective
     foxholes cross hairs.

     Conservatives and right-wing media demanded thatwere quick on
     Wednesday to demand forceful condemnation of hate speech and
     crimes by anti-Trump liberals get. They’re right. Though there’s
     no sign of incitement as direct as in the Giffords attack,
     liberals should of course hold themselves to the same standard
     of decency that they ask of the right.

Id.8 Bennet testified that as he worked on the Editorial, he did not

know whether or not Loughner had seen the crosshairs map, nor did he

research that question. Tr. 720. As Bennet explained:

     I was functioning as the editor, not the reporter on the piece,
     so I wouldn’t normally do the reporting in a situation like this,
     particularly when we were on a tight deadline. But also˘... I

     8 As in a standard redline, plain text represents material from
Williamson’s initial draft, underlined text represents additions by
Bennet, and strikethroughs represent deletions by Bennet.

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     didn’t think then and don’t think now that the map caused Jared
     Loughner to act. I didn’t think we were saying that, and
     therefore ... [it] didn’t enter my mind to research that
     question.... My goal was to make it, you know, a clearer argument
     and ... [a] more compelling description of what happened that
     day, a more vivid description of what happened that day.

Tr. 721.

     D. Further Editing

     Bennet saved his draft in Backfield at 7:21 p.m. DX-30 at 178.

He then emailed Williamson, alerting her that he had finished revising

her draft:

     I really reworked this one. I hope you can see what I was trying
     to do. Please take a look. Thank you for the hard work today and
     I’m sorry to do such a heavy edit.

PX-163. Bennet testified that his request to “[p]lease take a look”

was indicating to Williamson that she should review the piece for fact

checking. Tr. 638. As Bennet explained at trial:

     [T]his is why we send playbacks to writers, because they are the
     ones who reported the story. They are the ones who are in
     possession of the facts. And it is important for them to review
     pieces to make sure that edits haven’t introduced errors.

Tr. 639. Williamson testified that, after receiving this email, she

“glanced at” the Editorial and replied to Bennet, writing, among other

things, that the draft “Looks great.” Tr. 274; DX-38. She suggested

no edits to Bennet’s draft. Id.

     Cohn re-claimed the pen around 7:23 p.m. and began editing

Bennet’s draft of the Editorial. Tr. 571. She continued working on the

piece, making changes for clarity and accuracy until approximately

7:57 p.m. Tr. 571-573; DX-30 at 136. During that time, Fox and Lepping

were reviewing the piece as well, though they had to relay their


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changes to Cohn, since only one person was able to edit the Backfield

version at a time. Tr. 572; 575-576; PX-155. Cohn testified that she

reviewed the Challenged Statements and did not perceive there to be

any problem with the language in those paragraphs. Tr. 574-575. Nor

did she approach Bennet to discuss those paragraphs. Tr. 575.

     Then, at 7:58 p.m., just after storing the latest version of the

Editorial reflecting Bennet’s revisions, Cohn emailed a “playback,”

or a static copy of the latest draft, to Williamson for her review.9

Tr. 576-577. Cohn explained that she sent the playback to Williamson

because, although Cohn “assumed that James Bennet had sent one since

at that point he was really editing the piece, [she] was playing it

safe since [she] had been the original editor on the piece.” Tr. 577.

The reason Cohn wanted to be sure Williamson received a playback was

so Williamson “could make sure that everything in there was correct

and that ... the changes seemed fair to her, that ... there was nothing

that she wanted to object to either in terms of facts or tone.” Id.

Cohn did not receive any further edits or comments from Williamson.

Tr. 577-578.

     Shortly    after    Bennet    filed      his   draft   of   the   Editorial   to

Backfield,    Eileen    Lepping,   the     Editorial    Board’s    principal   fact

checker, also began her process of fact checking and editing. Tr. 395.




     9 Cohn described the practice of sending a writer a “playback
with changes” as “send[ing] a copy to the writer so ... the changes
would show up ... so they could go back and look and get back to [the
editors] if there were any issues or problems with it.” Tr. 577.

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Lepping testified that she fact checked the draft Editorial line-by-

line. Tr. 416, 421-422. However, she continued editing the piece as

Cohn and Bennet also edited and revised it. Tr. 400-401. While fact

checking      the   Editorial,    Lepping    clicked   through   the   “circulated”

hyperlink to the ABC News article, and “scan[ed] it for the facts that

[she] was looking for at the moment,” meaning specific details such

as times, dates, that it was Palin’s PAC that had circulated the map,

and the number of congressional districts identified. Tr. 399, 422-

423. One correction Lepping made around 7:34 p.m. was to edit words

indicating the relative timing of the crosshairs map’s publication

(March 23, 2010, see DX-62; DX-63) and the Arizona shooting (January

8, 2011) from “in the weeks before the shooting” to “in the months

before.”10 See PX-153; Tr. 399-403. Lepping testified that she did look

at   the    crosshairs    map    itself,    though   she   missed   the   inaccuracy

regarding the location of the stylized crosshairs, an error which had

already appeared in Williamson’s 4:44 p.m. draft. Tr. 406-407. Lepping

further testified that she does not recall fact checking the phrase

“the link to political incitement was clear” in the first paragraph.

Tr. 405. Nor did she fact check the phrase “Though there’s no sign of

incitement as direct as the as in the Giffords attack” in the second

paragraph. Tr. 407. At that point, with the 8:00 print deadline




      10This text was changed yet again, sometime after Lepping
completed her edit at approximately 7:56 p.m. that night: the published
version reads “Before the shooting.” Tr. 404-406. Lepping testified
that she did not know who made that further edit. Tr. 406.

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nearing, Lepping testified that she “was doing more of a quick check

of names and dates and things like that.” Tr. 426. However, Lepping

said she was able to confirm all of the facts she did check, and no

one instructed her not to check any aspect of the piece. Tr. 426-427.

At the end of her edit, Lepping sent a playback to Semple, who had a

practice of reading the final versions of editorials before they ran

and reaching out if he had any concerns; but Semple did not raise any

concerns to Lepping about “America’s Lethal Politics.” Tr. 428-429.

     After Cohn and Lepping’s review, the copy editors assigned to the

editorials page that night -- Bruce Levine and Joe Rakowski -- also

edited the piece. Tr. 578. Additional fact checking occurred at this

step, with Levine correcting the number of victims hit by Hodgkinson’s

bullets from five to four, since the fifth victim was determined to

have been hit by shrapnel. See PX-178. Levine made this edit by

comparing the draft Editorial to the article on the Virginia shooting

prepared by the news department for the following day’s paper. Tr.

579. Still, no fix was made to the Challenged Statements.

     E. Publication

     The Times published “America’s Lethal Politics” on its website

at approximately 9:45 p.m. on June 14, 2017.11 Tr. 640-641. The Times’

Twitter accounts posted two tweets promoting the Editorial on the




     11The online version of the Editorial received 150,257 page views
before the first correction was posted, and 133,572 page views (after
it was corrected) for the remainder of the first week after
publication. DX-500 ¶ 13; DX-128.

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evening of June 14, 2017. PX-3; DX-500 ¶¶ 16-20. “America’s Lethal

Politics” was the lead article on the editorial page in the June 15,

2017 print edition of The New York Times.12 PX-4. And the Editorial

was featured on the Times’ website homepage through June 15, 2017,

although it no longer appeared on the homepage as of 3:00 p.m. June

15, 2017. DX-126; DX-127; DX-500 at 1.

     F. Corrections

     At    10:35   p.m.,   less   than   one   hour   after   the   Editorial   was

published online, Bennet received an email from Ross Douthat, a

conservative columnist for the Times’ Opinion section who covers

national politics, among other topics. Tr. 820. Douthat’s email was a

response to an email from Bennet complimenting Douthat’s latest column.

PX-174 at 2. In his email, Douthat criticized the factual basis for

the Challenged Statements:

     I feel I would be remiss if I didn’t express my bafflement at the
     editorial that we just ran on today’s shootings and political
     violence. There was not, and continues to be so far as I can
     tell, no evidence that Jared Lee Loughner was incited by Sarah
     Palin or anyone else, given his extreme mental illness and lack
     of any tangible connection to that crosshair map, the Tea Party
     or other right-wing cause. Whereas the shooter today, as our
     editorial concedes, seems to have had a clear partisan, anti-
     Trump purpose. That doesn’t mean that liberals or “The Resistance”
     were in any way responsible for this horror; I don’t buy those
     kind of arguments at all, in either case. But our editorial seems
     to essentially reverse the fact pattern as I understand it, making
     it sound like *Loughner* had the clearer connection to partisan
     rhetoric, when to the best of my knowledge he had none. I don’t
     understand that claim at all, and I don’t understand why we’re
     making it.



     12610,531 copies of the June 15, 2017 print edition of The New
York Times, which included the Editorial, were printed. DX-500 ¶ 8.

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Id. at 1. Bennet responded at 11:09 p.m.:

     Thanks, and I’ll look into this tomorrow. But my understanding
     was that in the Giffords case there was a gun sight superimposed
     over her district; so far in this case we don’t know of any direct
     threat against any of the congressmen on the field. That’s not
     to say any of it is ok, obviously, or that the violence in either
     case was caused by the pol[i]tical rhetoric. But the incitement
     in this case seems, so far, to be less specific.

Id. Bennet testified that when he read Douthat’s email he “took away

from [it that Douthat] was reading the editorial to say that Loughner

was incited by Sarah Palin or somebody else, and that is not the

message we intended to send.” Tr. 645.

     In addition to replying to Douthat by email, Bennet testified

that he “checked Twitter, because this ... obviously rang a big alarm

for me and, yes, I saw other media people at that point tweeting that

we had gotten it wrong,” making similar points to Douthat’s. Id. at

645-646. Shortly thereafter, Bennet sent a text message to Williamson:

“Are you up? The right is coming after us over the Giffords comparison.

Do we have it right?” DX-46. Williamson, however, had gone to sleep

and did not respond until the morning. Id. Bennet testified that he

spent time reading the criticism of the Editorial that was appearing

online and tried to sleep but was unable to get much rest, because he

was “so upset and confused.”13 Tr. 747-748.



     13 Plaintiff’s counsel asked Bennet if Douthat’s email prompted
Bennet to make any effort to take the Editorial offline while the
Times was investigating its accuracy. Bennet said he made no such
effort because at the time, “The New York Times ... had a rule against
so-called unpublishing stories; that if you published a story, you
couldn’t then just pull it down.” Tr. 648. Bennet also noted that the
Editorial was irrevocably set to run in the June 15, 2017 print
edition. Tr. 649. Plaintiff’s counsel adduced no evidence suggesting
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     At 5:08 a.m. on June 15, 2017 Bennet emailed Williamson and

Lepping with the subject line “Giffords:”

     Hey guys -- We’re taking a lot of criticism for saying that the
     attack on Giffords was in any way connected to incitement. The
     claim is that this was fully investigated and debunked in the
     months after the attack, and the shooter was found to have acted
     only because of his personal demons. I don’t know what the truth
     is here but we may have relied too heavily on our early editorials
     and other early coverage of that attack. If so, I’m very sorry
     for my own failure on this yesterday. In any case I’d like to get
     to the bottom of this as quickly as possible this morning and
     correct the piece if needed. Can you two please put your heads
     together on this first thing this morning? Please skip the morning
     meeting if necessary. JB

PX-191. Later that morning, Williamson and Bennet spoke by phone;

Williamson described Bennet’s demeanor on the call as reflecting that

he was “clearly crestfallen that this had happened.” Tr. 183; see PX-

190. Williamson (“EB”) and Bennet (“JB”) also exchanged text messages

about the apparent error:

     EB:   Hey I’m sorry James. I should have read those [para]grafs
           more closely and asked more questions. That’s on me. Will
           get a [correction] drafted soonest. E.

     JB:   No worries. I feel lousy about this one -- I just moved too
           fast. I’m sorry.

     JB:   Now what I need from you/Eileen soonest is a rock-solid
           version of what we should say -- that an investigation showed
           NO link to incitement, or NO DIRECT link or NO CLEAR link.
           I don’t want to soften if it we don’t need to -- if there
           was no link we should say so.

     EW:   On it. We’ll do the right thing

DX-46; PX-188; Tr. 182-183.


that Bennet could have taken the Editorial down at that time or that
he lacked awareness of this “unpublishing” policy at the time, so
there is no inference that can reasonably be drawn from Bennet’s
decision not to pursue this.

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     Williamson      and   Lepping   began   researching    the   issue      shortly

thereafter to determine if a correction was required, skipping the

Editorial Board’s morning meeting as directed. Tr. 172. Williamson

described the Times’ corrections policy as “if we were alerted of an

error, the policy would be to as swiftly as possible ascertain the

correct facts and write the correction and post it.”14 Tr. 206-207. At

7:18 a.m., Williamson emailed her Editorial Board colleague, Jesse

Wegman, who had noted criticism of the Editorial on Twitter the night

before, asking “What in your view would be the most reliable assessment

of the politics link (or not) in the Loughner case? Am thinking court

records/assessment of his state of mind.” Williamson’s focus was

correcting the description of the map itself; the bulk of the research

and the correction drafting was done in New York. Tr. 173, 185. That

morning, Lepping was responsible for researching whether a link had

ever been established between the crosshairs map and Loughner’s attack.

Tr. 410. Lepping testified that she found a police report online


     14The applicable “Corrections” policy from The New York Times’
“Guidelines on Integrity” states in full:

     Because our voice is loud and far-reaching, The Times recognizes
     an ethical responsibility to correct all its factual errors,
     large and small. The paper regrets every error, but it applauds
     the integrity of a writer who volunteers a correction of his or
     her own published story. Whatever the origin, though, any
     complaint should be relayed to a responsible supervising editor
     and investigated quickly. If a correction is warranted, fairness
     demands that it be published immediately. In case of reasonable
     doubt or disagreement about the facts, we can acknowledge that a
     statement was “imprecise” or “incomplete” even if we are not sure
     it was wrong.

PX-18; see also Tr. 299-300.

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indicating that the shooting “wasn’t politically connected.”15 Id.

Cohn, working under direction from Bennet and Wegman, drafted the

corrections. Tr. 552-553. The first correction, positioned below the

online version of the Editorial, was published at approximately 11:15

a.m. on June 15, 2017, Tr. 659, and it read as follows:

     An earlier version of this editorial incorrectly stated that a
     link existed between political incitement and the 2011 shooting
     of Representative Gabby Giffords. In fact, no such link was
     established.

PX-5 at 3. At the same time, the two paragraphs containing the

Challenged Statements was revised to read as follows:

     Was this attack evidence of how vicious American politics has
     become? Probably. In 2011, Jared Lee Loughner opened fire in a
     supermarket parking lot, grievously wounding Representative Gabby
     Giffords and killing six people, including a 9-year-old girl. At
     the time, we and others were sharply critical of the heated
     political rhetoric on the right. Before the shooting, Sarah
     Palin’s political action committee circulated a map that showed
     the targeted electoral districts of Ms. Giffords and 19 other
     Democrats under stylized cross hairs. But in that case no
     connection to the shooting was ever established.

     Conservatives and right-wing media were quick on Wednesday to
     demand forceful condemnation of hate speech and crimes by anti-
     Trump liberals. They're right. Liberals should of course be held
     to the same standard of decency that they ask of the right.




     15 Lepping’s testimony about the investigative conclusions she
read in the police report was offered for, among other things, the
truth of the matters asserted in the report. Plaintiff’s counsel never
offered the police report, which they had pre-marked as an exhibit and
included in the pre-trial exhibit list, see ECF 157 at 55. As such,
Lepping’s testimony regarding what the report concluded about
Loughner’s mental state was objectionable hearsay to the extent it was
offered for its truth. But since no objection was interposed by
defendants, the testimony was received in evidence for all purposes.

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Id. at 2.16 The Times’ Opinion Section and its main Twitter accounts

also tweeted out the correction. PX-7. The evidence showed that Bennet

was involved in drafting the Twitter posts, and that he edited the

proposed language to add the apology that “[w]e’re sorry about [the

error]” and thanked readers for “call[ing] us on the mistake.” DX-53

at 1; Tr. 1033.17




     16The record contains an email from Wegman to Williamson sent at
12:44 p.m. on June 15, 2017 discussing the correction to the text of
the Editorial. In it, Wegman writes, “I made the case that talking
about Palin and Giffords in the same [para]graf at all risked seeming
like we were still trying to sneak the link in, but James pointed out
that in order to write the next [para]graph, we had to put it in there
to explain.” PX-204 at 1. Plaintiff’s counsel, however, elicited no
testimony providing context for this statement, and plaintiff’s
counsel did not rely on any inferences from this document during
summation or in argument on the Rule 50 motion.
     17 There was considerable debate at trial about whether the Times
has a policy against offering apologies in connection with corrections.
See, e.g., Tr. 675, 1036. Plaintiff’s counsel raised this issue in
connection with the assertion that Palin never received an apology
from the Times or Bennet. The Court need not, and does not, resolve
the factual issues regarding any apology policy at the Times or whether
Palin received an apology, neither of which is materially relevant to
the matter at hand. However, it is undisputed that on June 15, 2017,
Bennet received a request for comment from CNN’s senior media reporter
regarding the Editorial’s inaccuracy, and that Bennet provided draft
comments to the vice president of the New York Times Co. for
communications for her to relay back to the CNN reporter. See DX-60.
The reporter had asked, inter alia, whether the Times would “be issuing
an apology to Sarah Palin for wrongly linking her to the shooting of
Giffords.” Id. at 2. Bennet’s response to this question was “I’m not
aware that Sarah Palin has asked for an apology, but yes, I, James
Bennet, do apologize to her for this mistake.” Id. However, Bennet’s
statement of apology was not ultimately relayed to CNN, and so it was
never published. See PX-236.

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       Later, the Times issued a second correction to replace the first,

addressing the remaining error regarding the description of the map.

That second correction read:

       An editorial on Thursday about the shooting of Representative
       Steve Scalise incorrectly stated that a link existed between
       political rhetoric and the 2011 shooting of Representative Gabby
       Giffords. In fact, no such link was established. The editorial
       also incorrectly described a map distributed by a political action
       committee before that shooting. It depicted electoral districts,
       not individual Democratic lawmakers, beneath stylized cross
       hairs.

PX-6. This second correction also ran at the bottom of the editorial

page in the June 16, 2017 print edition of the newspaper. PX-10.

II.    Procedural Background

       A. Prior Proceedings

       Palin initiated this lawsuit by filing a one-count complaint on

June 27, 2017. ECF 1. Defendants moved to dismiss the complaint on

July 14, 2017. ECF 24. The Court subsequently determined that it was

a     “close   question”   whether   the    complaint   had   pled   sufficient

allegations of actual malice. ECF 35. Therefore, without objection

from the parties, the Court held a brief evidentiary hearing on August

16, 2017, at which the Court ascertained who were the authors of the

Editorial and other basic facts that provided context for assessing

the plausibility of the inferences upon which the complaint relied to

state a libel claim. See ECF 35 at 2. The Court then determined that

Palin had not plausibly pled actual malice and dismissed the complaint.

Id. Palin appealed that order and the Second Circuit reversed, holding




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that the plausibility hearing contravened Fed. R. Civ. P. 12(d). See

Palin v. New York Times Co., 940, F.3d 804, 812-813 (2d Cir. 2019).

     Following      remand,   Palin   filed   the   operative,    first      amended

complaint on December 30, 2019. ECF 70. The Court subsequently granted

defendants’ motion for partial judgment on the pleadings, dismissing

Palin’s claim for disgorgement of advertising revenues specifically

associated with the Editorial. ECF 83. On June 12, 2020, the parties

filed cross-motions for summary judgment. ECF 94, 95. The Court denied

these motions on August 28, 2020 and set the case for trial February

1, 2021. ECF 117.

     Defendants subsequently filed a motion for reconsideration on the

basis of an intervening change in substantive law: New York State’s

November 10, 2020 amendment of its libel statute to expressly require

a public figure such as Palin to prove actual malice by clear and

convincing evidence. ECF 119. On December 29, 2020, the Court granted

defendants’ motion for reconsideration and held that the amendment to

New York’s so-called “Anti-SLAPP Statute,”18 N.Y. Civil Rights L. § 76-

a(2), applies to this action. Consequently, Palin’s burden to prove

actual malice as to falsity by clear and convincing evidence is not

only required by the First Amendment to the United States Constitution

but also by New York State statutory law. ECF 125.




     18“Anti-SLAPP” refers to statutes enacted to prevent libel claims
from operating as Strategic Lawsuits Against Public Participation
(“SLAPP suits”) that would otherwise create a risk of litigation
tending to wrongly inhibit public discourse.

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     B. The Trial and Rule 50 Motion

     Unfortunately, the COVID-19 pandemic’s cycles of intensification

and abatement resulted in several epidemiological “surges” at times

set for trial, requiring repeated adjournments to comply with the

pandemic protocols of the Southern District of New York. After these

delays, trial was set to commence on January 24, 2022. But on the eve

of trial, Palin contracted COVID-19 and so was barred by the pandemic

protocols from entering the courthouse. See Minute Entries 1/24/2022.

Finally, on February 3, 2022, a jury was empaneled, and the trial

commenced.

     Following the close of evidence on Thursday, February 10, 2022,

defendants moved for judgment as a matter of law under Fed. R. Civ.

P. 50(a) on four issues, each of which was necessary for Palin to

prove the essential elements of their liability on her single claim

of libel.19 See Tr. 1053. These included the two aspects of the “actual

malice” element, actual malice as to falsity and actual malice as to

defamatory meaning, as well as the “of and concerning” and falsity

elements. Tr. 1054-1055. Oral argument proceeded in at least five

sessions outside the presence of the jury over three days, and counsel




     19The Court notes that the Times made the Rule 50 motion at the
earliest available time. The Times did not call any witnesses of its
own or otherwise present an affirmative case after Palin rested. This
follows from the Court’s individual rules of practice, which provide
that each witness may only be called once but can be examined at that
time by both sides on any issue.

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made   written   submissions    of    relevant     caselaw   citations    over   the

intervening weekend, see ECF 174 at 5-9.

       Meanwhile, while the Court continued to reserve judgment on the

Rule 50 motion, the jury began deliberations on the afternoon of

Friday, February 11, 2022. That evening, following relevant argument

and a close review of caselaw cited by counsel, the Court denied the

prong of defendants’ Rule 50 motion directed at the “of and concerning”

element of Palin’s libel claim. Tr. 1228.

       Argument then turned to the portion of the actual malice element

concerning     whether   Bennet      knew     or   recklessly   disregarded       the

Challenged Statements’ falsity prior to publication. Id. The Court was

initially skeptical of defendants’ position, on the basis that the

jury might make adverse determinations as to Bennet’s credibility and

draw   adverse   inferences    about    his    pre-publication    state    of    mind

therefrom. See, e.g., Tr. 1232. However, defense counsel drew the

Court’s attention to a Second Circuit libel case, Contemp. Mission,

Inc. v. New York Times Co., which holds, in sum, that in light of the

clear and convincing evidence standard, a plaintiff must adduce some

affirmative, “concrete evidence from which a reasonable juror could

return a verdict in h[er] favor” to establish a jury question on actual

malice, and that it is “[i]t is not enough for the plaintiff merely

to assert that the jury might, and legally could, disbelieve the

defendant’s denial of legal malice.” 842 F.2d 612, 621-622 (2d Cir.

1988); see Tr. 1235-1241. Over the weekend, the Court studied the



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relevant     caselaw,    including   the     numerous   citations   provided   by

counsel.

     During argument regarding defendants’ pending Rule 50 motion on

the morning of Monday, February 14, 2022, the Court indicated that it

was leaning toward agreement with defendants’ position on the issue

of actual malice as to falsity, but that, to make sure, it would hear

further argument on the issue. The Court further advised the parties

that if the Court determined that defendants’ Rule 50 motion was

meritorious, it would still let the jury reach a verdict so that the

case might not need to be retried if the Court’s judgment as a matter

of law were reversed on appeal.20 As previously noted, neither party

objected in the slightest to this proposal either at that time, during

either of the two following sessions of oral argument, or even later

that afternoon when the Court indicated it was about to announce its

decision on the actual malice prong of the Rule 50 motion. See Tr.

1256-1295.

     Later that afternoon, the Court reconvened outside the presence

of the jury. First, the Court denied the prong of defendants’ motion

concerning the falsity element. Specifically, it held that there was




     20See Tr. 1256 (“So I think it comes down to a single issue. By
the way, were I to grant the motion -- and I haven’t decided yet, but
were I to grant the motion, I would still let the jury continue to
reach a verdict so that the Court of Appeals, if they disagree with
my determination, would still have the jury’s verdict before them and
we wouldn’t have to retry the case. But I don’t mean to suggest by
that that I’ve made a decision. I just wanted to flag what would be
the result if I did grant the motion.”).

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sufficient evidence, including unobjected-to testimony from Lepping

about her research for the corrections (see n. 15, supra) from which

a reasonable jury could conclude that Palin had carried her burden to

establish the Challenged Statements’ falsity by clear and convincing

evidence. See Tr. 1295-1297. Then, after discussing the requirements

of Rule 50, the Court explained its determination that no reasonable

jury could find that Palin had carried her burden to prove by clear

and convincing evidence that Bennet had known or recklessly disregarded

the Challenged Statements’ falsity prior to publication. Tr. 1299-

1305. The Court further stated that it would permit the jury to

continue its deliberations, and it would formally enter its Rule 50

judgment as a matter of law after the jury returned its verdict. Tr.

1298, 1305. There were no objections.21

     At the end of the day and after announcing its ruling on the Rule

50 motion, the Court reconvened counsel and asked whether either side

sought a further instruction about avoiding media coverage of the



     21 Plaintiff’s counsel has since suggested that the Court
recognized an objection to this procedure when it stated, after
delivering the substance of its Rule 50 decision, that “needless to
say, the plaintiff is deemed to have objected to my decision, and that
is preserved for appeal as well.” Tr. 1306. But plaintiff’s
interpretation grossly misconstrues the record. The full context of
the quoted remark reflects that it concerned only the legal substance
of the Court’s Rule 50 decision, which plaintiff’s counsel had
addressed at length, and that the Court was merely recognizing
plaintiff counsel’s presumed reassertion of those prior objections to
the substance of the Court’s Rule 50 decision. Because neither party
had ever objected to the Court’s proposal not to discharge the jury
after delivering its Rule 50 decision, there was no prior objection
to the procedural aspect of the Court’s action that the Court could
have recognized as reasserted.

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trial or whether “we should just leave things as is.” Tr. 1307.

Plaintiff’s counsel declined to ask for any instruction, stating “We

leave        things   as   is.”   Id.   However,   defense   counsel   requested   an

instruction, raising the risk posed by “push notifications that get

sent out to people’s phones.” Id. The Court ultimately recalled the

jury and again admonished the jurors not to look at anything regarding

the trial, not to speak with anyone about the trial, and “if you see

anything in the media about this case, just turn away.”22 Tr. 1308.

        The following afternoon, the jury delivered a verdict of not-

liable, which was confirmed in a poll of each individual juror. See

ECF 173; Tr. 1324-1325. The Court then informed the jury about its

ruling on the Rule 50 motion and discharged the jury. Tr. 1326-1327.

The Court entered final judgment later on February 15, 2022. ECF 171.

        After the jury was excused, the Court directed its law clerk to

speak with the jury about any problems it might have had with the

Court’s instructions of law or any suggestions they might have for

improvements. This has been the Court’s routine practice for over 25

years and more than 300 jury trials, and it has led to material

improvements. For example, as suggested by a jury several years ago,

the Court now always provides the jury with a “short-form” version of

its instructions of law at or near the very start of the trial, as it



        The jury was instructed to turn away from media coverage
        22

repeatedly throughout the trial, including when it was empaneled, Tr.
71; after an incident in which a member of the public cheered Palin
and denigrated The Times while jurors were waiting for the elevator,
Tr. 500, 512; and by email over a weekend recess, ECF 174.

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 did in this very case. However, in the course of their post-verdict

 discussion in the instant case, a few of the jurors volunteered to the

 law clerk that they had previously become aware of the bottom line of

 the Court’s February 14 ruling, because, notwithstanding that they had

 assiduously adhered to the Court’s instruction to avoid media coverage

 of    the    trial,    they   had   received    “push   notifications”   on    their

 smartphones containing a few words to the effect that the Court

 intended to dismiss the case. ECF 172. Although the same jurors made

 a point of affirmatively expressing to the law clerk that their limited

 knowledge had not affected their deliberations in the slightest, the

 Court, upon learning of this conversation, promptly disclosed it, in

 writing, to the parties and the public. Id.

III.    Legal Framework

        As explained, the Court entered Final Judgment for defendants as

 a consequence of their Rule 50 motion for judgment as a matter of law.

 ECF 171. Specifically, the Court granted the Rule 50 motion with

 respect to Palin’s failure to adduce evidence from which any rational

 jury could find by clear and convincing evidence either that Bennet

 and the Times published the Editorial knowing that it contained a

 false statement of fact about Palin or that Bennet and the Times

 published in reckless disregard of the Editorial’s truth or falsity.

 Therefore, the Court sets forth in this section the legal frameworks

 governing       the   substantive    and   procedural    aspects   underlying    its

 judgment.



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     A. Elements of Liability for Libel of a Public Figure

     A claim of libel arises from the publication of a false defamatory

statement made in writing or print. To establish liability for such a

claim under here-applicable New York law, Palin, who is a “public

figure,” was required to prove four essential elements concerning any

allegedly libelous statement:23

     (1)     It was a statement of fact that the ordinary reader of the
             publication would understand, when taken in the context in
             which it appears, to convey a defamatory meaning, Mahoney
             v. Adirondack Pub. Co., 71 N.Y.2d 31, 38 (1987);

     (2)     An ordinary reader would reasonably understand the statement
             to be “of and concerning” the plaintiff personally, rather
             than referring to another person or entity, Three Amigos SJL
             Rest., Inc. v. CBS News Inc., 28 N.Y.3d 82, 86 (2016);

     (3)     The statement was materially false, Rinaldi v. Holt,
             Rinehart & Winston, Inc., 42 N.Y.2d 369, 380 (1977); and

     (4)     At the time of publication, the Times (and Bennet, in
             particular) had the state of mind known as “actual malice,”
             Harte-Hanks Commc’ns, Inc. v. Connaughton, 491 U.S. 657, 666
             (1989).

While a plaintiff may prove the first two elements by a preponderance

of the credible evidence, the elements of falsity and actual malice

must be proven by clear and convincing evidence. See Rinaldi, 42 N.Y.2d

at 379. Also, the parties agreed, based on the record and the scope

of respondeat superior liability under New York law, to treat Bennet

and The New York Times Co. as a single unit with any finding of

liability or non-liability applying equally to both defendants. Tr.



     23 Although a fifth element, publication, is also an essential
element of a libel claim, defendants here conceded that the challenged
statements were published, so this was never in dispute. See Tr. 466.

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462-464     (charge    conference);    Jury    Instructions   at   12   (corporate

liability).     As    for   damages,   since   the   Challenged    Statements,   as

construed by Palin, were defamatory per se, damages were presumed, and

proof of special damages was not required as an element of liability.24

     The First Amendment’s guarantees of freedom of speech and of the

press prohibit imposition of liability for libel of a public figure

unless the plaintiff proves that the defendants acted with “actual

malice.” Sullivan, 376 U.S. at 279-280; see also Harte-Hanks Commc’ns,

491 U.S. at 666 (confirming that the Sullivan rule applies to public

figures).25 It is undisputed that Palin is a public figure for the

purposes of this lawsuit. See Gertz v. Robert Welch, Inc., 418 U.S.

323, 345 (1974) (defining public figures as those who “have thrust

themselves to the forefront of particular public controversies in




     24 During argument concerning the jury charge, the Court denied
defendants’ motion in limine that sought a ruling that the Challenged
Statements were not defamatory per se. See ECF 159; Tr. 682. Under New
York law, “[a]ny written or printed article is libelous or actionable
without alleging special damages if it tends to expose the plaintiff
to public contempt, ridicule, aversion, or disgrace, or induce an evil
opinion of him in the minds of right-thinking persons, and to deprive
him of their friendly intercourse in society.” Rinaldi, 42 N.Y.2d at
379. The assertion that Palin’s actions played a “clear” or “direct”
role in causing Loughner to commit a mass shooting undoubtedly falls
within this definition of a libelous per se statement. See Tr. 896-
897 (describing death threats Palin and her children received after
the accusation was first made in 2011).
     25 Palin has consistently maintained that New York Times v.
Sullivan either is no longer good law or does not apply to this case,
and thus that the First Amendment does not require her to prove that
Defendants published with actual malice. The Court has repeatedly
rejected these contentions, which are fully preserved for appellate
review. See, e.g., ECF 117 at 11-13.

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order to influence the resolution of the issues involved” and thereby

“invite attention and comment”). Therefore, to prevail, Palin must

prove by clear and convincing evidence that Bennet and the Times

published the Editorial “with knowledge that it was false or with

reckless disregard of whether it was false or not.” Sullivan, 376 U.S.

at 280.26

     New York State’s “Anti-SLAPP” statute independently requires a

plaintiff in Palin’s position to prove actual malice, i.e., to have

“established by clear and convincing evidence that any communication

which gives rise to the action was made with knowledge of its falsity

or with reckless disregard of whether it was false.” Civil Rights L.

§ 76-a(2). The Court has already held that the current version of this



     26 A central plank of the defense was Bennet’s assertion that he
did not intend the Editorial to convey that the crosshairs map directly
caused Loughner to commit the Arizona shooting. This issue largely
turns on Bennet’s intent in using the word “incitement.” On summary
judgment, the Court accepted defendants’ argument that Bennet could
not have actual malice as to the Editorial’s purported falsity unless
he was also aware that readers would interpret his words to convey the
allegedly false meaning. See ECF 117 at 13-15. Accordingly, the Court
held that Palin was required to prove two necessary aspects of actual
malice by clear and convincing evidence: actual malice as to falsity
and actual malice as to defamatory meaning. See id. at 18-19. To prove
actual malice as to defamatory meaning, Palin was required to show
that Bennet either intended to convey the alleged defamatory meaning
or that he was aware that ordinary readers would probably understand
his words to convey the allegedly defamatory meaning and he published
anyway. See Jury Instructions at 20.

     Although defendants’ Rule 50 motion contended that Palin had
failed to prove by clear and convincing evidence the aspect of actual
malice concerning defamatory meaning, the Court did not address this
prong of defendants’ motion during oral argument. See Tr. 1263. It
therefore forms no part of the Court’s reasoning as set forth below
and is deemed denied as moot.

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statute, amended November 10, 2020, applies retroactively to this

action. See ECF 125. Therefore, the Court’s entry of judgment as a

matter    of   law   for   Palin’s   failure     to   prove   actual    malice    rests

independently on both federal law, via the First Amendment, and on New

York State statutory law, via Civil Rights L. § 76-a(2).

     As explained above, the Court denied Defendants’ Rule 50 motion

with respect to all elements except actual malice, and then only

granted    the   motion    with   respect   to   the   aspect   of     actual    malice

concerning Bennet’s knowledge or reckless disregard of the Challenged

Statements’ falsity. It was also clear from argument that Palin was

not seriously contending that Bennet published the Editorial with

actual knowledge that the Challenged Statements were false; rather,

Palin argued that she established actual malice by virtue of reckless

disregard.

     The cornerstone of the reckless disregard standard for actual

malice is that the plaintiff must prove by clear and convincing

evidence, that the “defendant in fact entertained serious doubts as

to the truth of his publication.” St. Amant v. Thompson, 390 U.S. 727,

731 (1968). And, as the New York Court of Appeals has explained, “there

is a critical difference between not knowing whether something is true

and being highly aware that it is probably false. Only the latter

establishes reckless disregard in a defamation action.” Liberman v.

Gelstein, 80 N.Y.2d 429, 438 (1992). Liability is therefore barred

unless Palin adduced clear and convincing evidence supporting the

conclusion that, at a minimum, “a false publication was made with a

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high degree of awareness of probable falsity.” Id. Proof of negligence

does not suffice to establish actual malice: “reckless conduct is not

measured by whether a reasonably prudent man would have published, or

would have investigated before publishing.” Id.

        Nor,   without   clear   and   convincing   proof     that    the   defendant

harbored serious doubts about the truth of the allegedly libelous

statement, would it be enough to “show[] ... highly unreasonable

conduct    constituting     an   extreme    departure    from   the    standards   of

investigation     and    reporting     ordinarily   adhered     to   by   responsible

publishers.” Harte-Hanks Commc’ns, 491 U.S. at 666. The failure to

investigate a fact or confirm an assertion before publication does not

establish reckless disregard -- “even if a prudent person would have

investigated before publishing the statement” -- unless the evidence

proves that “defendants’ ‘inaction was a product of a deliberate

decision not to acquire knowledge of facts that might confirm the

probable falsity’ of the published statement.” Sweeney v. Prisoners’

Legal Servs. of New York, Inc., 84 N.Y.2d 786, 793 (1995) (quoting

Harte-Hanks Commc’ns, 491 U.S. at 692).

        B. Legal Standard -- Rule 50

        As already noted, the standard for granting a motion under Fed.

R. Civ. P. 50 for judgment as a matter of law requires a court to

consider all the evidence in the record and draw all reasonable

inferences in favor of the non-movant, here Palin. Furthermore, the

Court    may   neither   make    determinations     as   to   the    credibility   of



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witnesses or other evidence nor weigh conflicting evidence, as any

such analysis of the evidence is the jury’s exclusive province.

     Independently, however, in reviewing the evidentiary record of

actual malice, “the judge must view the evidence presented through the

prism    of   the   substantive    evidentiary    burden,”    i.e.,   clear   and

convincing evidence. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

254 (1986). Anderson was a libel case, and it addressed the legal

issue before this Court: the appropriate standard to apply to a

defendant publisher’s motion for summary judgment on the actual malice

element of a libel claim brought by a public figure, which it described

as identical to the standard applied to motions made under Fed. R.

Civ. P. 50. Id. at 245-246, 250. The Anderson Court held that to

determine whether a jury question exists as to the actual malice

element, a judge must account for the clear-and-convincing standard

of proof and determine. Id. at 255. Therefore, “there is no genuine

issue” of material fact, and so the defendants’ motion must be granted,

“if the evidence presented [by the plaintiff] is of insufficient

caliber or quantity to allow a rational finder of fact to find actual

malice by clear and convincing evidence.” Id. at 254.

        Anderson also rejected the proposition that a jury question as

to actual malice exists where the defendant’s “state of mind is at

issue and the jury might disbelieve him or his witnesses as to this

issue.” 477 U.S. at 256. The Court thus held that a plaintiff cannot

reach the jury on her libel claim “without offering any concrete

evidence from which a reasonable juror could return a verdict in [her]

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favor and by merely asserting that the jury might, and legally could,

disbelieve the defendant’s denial of a conspiracy or of legal malice.”

Id. A libel plaintiff has a “burden of producing ... evidence that

would support a jury verdict.” Id. “[D]iscredited testimony” of the

libel defendant on its own “does not constitute clear and convincing

evidence of actual malice.” Bose Corp., 466 U.S. at 512. Therefore,

as a matter of law, a libel “plaintiff must present affirmative

evidence” supporting the inference that the defendant published with

knowledge or reckless disregard of the statement’s falsity to reach a

jury on the question of actual malice, even though such “evidence is

likely to be within the possession of the defendant.” Anderson, 477

U.S. at 257. As the Second Circuit has repeatedly explained, this

means   that   a   libel   plaintiff    bears    the   burden   that       “[s]ome

[affirmative] facts must be asserted to support the claim that the

state of mind existed.” Contemp. Mission, 842 F.2d at 622.

IV.   Bennet’s State of Mind

      The essential question is whether the record reflects any evidence

that could give rise to the conclusion that Bennet knew or consciously

disregarded that the Challenged Statements were false at the time the

Editorial was published on June 14, 2017. In making this assessment,

the Court, construing Palin’s claim most favorably to her, assumes,

as Palin alleges, that Bennet either intended his edits to Williamson’s

draft to convey that the crosshairs map played a causal role in

spurring Loughner to commit the Arizona shooting or at least that

Bennet recklessly disregarded that defamatory meaning. Therefore, the

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specific inquiry is whether there is any basis from which a reasonable

jury could find by clear and convincing evidence that Bennet knew or

strongly     suspected,    before   publication,     that   no   link   had   been

established between the crosshairs map and the Loughner shooting. As

explained below, the Court concludes that the record contains no such

evidence.

     Palin has pointed to two categories of evidence that she argues

foreclose judgment as a matter of law on actual malice: the research

gathered for the Editorial and Bennet’s prior awareness of Loughner’s

motivations. The Court deals with each in turn and then discusses

other evidence in the trial record that is probative of Bennet’s pre-

publication state of mind.

     A. The Research

     Viewed in the light most favorable to Palin, the Court assumes

that Bennet read and understood three prior New York Times opinion

pieces that Lett found and circulated on June 14, 2017: Frank Rich’s

“No One Listened to Gabrielle Giffords,” DX-24, and the two editorials

published in January 2011: “Bloodshed and Invective in Arizona,” PX-

134, and “As We Mourn,” PX-135. But even on the assumption that Bennet

read and understood these three articles in their entirety, none

presents any definitive facts about the Arizona shooting that would

have put Bennet on notice (or led him to strongly suspect) that no

link had been established between the crosshairs map and Loughner’s

attack.



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     Rich’s column, “No One Listened to Gabrielle Giffords” was written

one week after the Arizona shooting and presented no actual evidence

about Loughner’s mental state at the time he committed the Tucson

attack. DX-24. Rich opened by endorsing President Obama’s statement

that “no one can know what is in a killer’s mind” but nonetheless

argued that while a “simple lack of civility didn’t cause the Tucson

tragedy,” the political violence committed by Loughner and others

emerged from a context filled with violent, antigovernment political

rhetoric from the radical right. Id. at 2-3. Rich contended, therefore,

that the fact “[t]hat Loughner was likely insane, with no coherent

ideological agenda, does not mean that a climate of antigovernment

hysteria has no effect on him or other crazed loners out there.” Id.

at 3. Assuming that Bennet knew the contents of this column when he

revised the Editorial, the Court concludes that “No One Listened to

Gabrielle Giffords” provides no facts about Loughner or argument about

the attack that contradict the facts asserted in the Challenged

Statements. Therefore, the Frank Rich column provides no basis for

finding that Bennet knew or suspected that his revision introduced

false statements of fact into the Editorial.

     The Times’ editorial published the day after the Arizona shooting,

entitled “Bloodshed and Invective in Arizona,” also provides no facts

or argument that contradict the Challenged Statements. This editorial

describes Loughner as “appear[ing] to be mentally ill” and notes that

“[h]is paranoid Internet ravings about government mind control place

him well beyond usual ideological categories.” PX-134 at 1. But the

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piece nonetheless argues that violent, antigovernment rhetoric creates

a context in which people like Loughner are more likely to commit

violent acts.27 At trial, Bennet described this as “the same point” he

was trying to make in “America’s Lethal Politics.” Tr. 712. The core

of the argument presented in “Bloodshed and Invective in Arizona” is

also consistent with the argument made in “America’s Lethal Politics”

that violent political rhetoric can make political violence more likely

to occur, even if the perpetrators are deranged:

     It is facile and mistaken to attribute this particular madman’s
     act directly to Republicans or Tea Party members. But it is
     legitimate to hold Republicans and particularly their most
     virulent supporters in the media responsible for the gale of
     anger that has produced the vast majority of these threats,
     setting the nation on edge. Many on the right have exploited the
     arguments of division, reaping political power by demonizing
     immigrants, or welfare recipients, or bureaucrats. They seem to
     have persuaded many Americans that the government is not just
     misguided, but the enemy of the people.

PX-134 at 2. Bennet described this passage as “[t]o me, ... the same

point” as the one he was trying to make in “America’s Lethal Politics.”

Tr. 713. Granted, a tension emerges when one reads both “Bloodshed and

Invective in Arizona” and “America’s Lethal Politics” in the light

most favorable to Palin’s claim: the earlier piece says it is “facile

and mistaken to attribute this particular madman’s act directly to”



     27 See PX-134 at 1 (“But [Loughner] is very much a part of a
widespread squall of fear, anger and intolerance that has produced
violent threats against scores of politicians and infected the
political mainstream with violent imagery. With easy and legal access
to semiautomatic weapons like the one used in the parking lot, those
already teetering on the edge of sanity can turn a threat into a
nightmare.”)

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specific politicians, but the Editorial can be read as doing just that

when it asserts that “the link to political incitement was clear,” in

the context of a discussion of the crosshairs map. But this tension

emerges from the arguments made by these two pieces, not contradictions

in their presentations of the relevant facts. Of course, “[u]nder the

First Amendment there is no such thing as a false idea,” so statements

of opinion are not actionable in libel. Gertz, 418 U.S. at 340.

“Bloodshed and Invective in Arizona” therefore provides no basis for

concluding that Bennet knew or suspected that the Challenged Statements

contained materially false statements of fact.

     The third piece of research Palin emphasizes is the editorial “As

We Mourn,” which was published four days after the attack and praises

then-President Obama’s speech at a memorial service for the Tucson

victims. PX-135. Palin focuses on its praise of Obama’s statement that

the Arizona attack should be a turning point “not because a simple

lack of civility caused this tragedy -- it did not -- but rather

because only a more civil and honest public discourse can help us face

up to our challenges as a nation.” Id. at 1-2. But neither this line

nor any other portion of “As We Mourn” presents any facts that

contradict   the   facts    asserted        in   the   Challenged   Statements.

Accordingly, Bennet’s having read “As We Mourn” does not support the

conclusion that he knew or recklessly disregarded that it was false

to assert that Loughner was “incited” by the crosshairs map.

     The Court also rejects Palin’s argument that the presence in

Williamson’s draft (and the final Editorial) of the hyperlink on the

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word “circulated” to the ABC News article weighs in favor of finding

that Bennet published with actual malice. To be sure, had Bennet read

the ABC News article -- which states in the tenth paragraph that “[n]o

connection        has   been   made   between   this   graphic     and   the    Arizona

shooting,” DX-10 at 1-2 -- it would be relevant to establishing that

Bennet had reason to doubt that the “link to political incitement was

clear” with respect to the Arizona shooting.28 But Bennet testified

that he neither clicked on the “circulated” link in Williamson’s draft

nor read the ABC News article before the Editorial was published. Tr.

609-610. And Palin has adduced no affirmative evidence to undermine

Bennet’s testimony on this point. Therefore, even viewing the record

in the light most favorable to Palin and drawing all reasonable

inferences in her favor, the Court concludes that the contents of the

ABC News article did not inform Bennet’s pre-publication state of

mind.

        Indeed,     Palin   effectively    conceded    as   much   by    adopting   the

alternate position during oral argument on the Rule 50 motion that it



        Even if, assuming arguendo, Bennet had read the ABC News
        28

article, it is not at all clear that it would establish that Bennet
knew that there was no connection between the cross hairs map and
Loughner’s attack. The ABC News article was written only one day after
the shooting, and its thrust is that people were drawing a link between
the shooting and the cross hairs map in the immediate aftermath of the
attack. See DX-10. A reasonable reader in Bennet’s position would not
necessarily understand the hedge contained in the tenth paragraph --
that within one day of the attack, no firm connection had yet been
made been made between Loughner and the map -- as conclusive evidence
that no such connection was later established by investigators. Of
course, this point is academic, since the record reflects that Bennet
never read the ABC News article before publication.

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was highly unreasonable for Bennet not to have clicked the hyperlink

when revising. See, e.g., Tr. 1274. But this contention fails to

establish actual malice for two reasons. First, as a legal matter,

assuming       arguendo    that    Bennet   was   negligent        --   or    even    grossly

negligent -- in not clicking the link, that would do nothing to

establish that Bennet had the subjective awareness of (probable)

falsity that is the sine qua non of actual malice. See Harte-Hanks

Commc’ns, 491 U.S. at 666. And second, as a factual matter, it is not

at all clear that Bennet’s failure to click on the link was even

negligent: the hyperlink was keyed to the word “circulated,” thereby

implying factual support for the well-known proposition that Palin’s

PAC had circulated the crosshairs map prior to the Arizona shooting.29

Palin established no reason why Bennet was negligent not to validate

this    proposition,       which    is   distinct   from     the    allegedly        libelous

assertion and was not subject to question at any time. Accordingly,

Bennet’s failure to click the ABC News link does not support the

conclusion that he published with actual malice.

       In    sum,   drawing   all    reasonable     inferences          in    Palin’s   favor

regarding       Bennet’s   pre-publication        reading,    none       of    the   research

materials in the record supports the conclusion that Bennet had reason




        The full sentence in Williamson’s draft read: “Then, it was
       29

the pro-gun right being criticized: in the weeks before the shooting
Sarah Palin’s political action committee circulated a map of targeted
electoral districts that put Ms. Giffords and 19 other Democrats under
stylized crosshairs.” PX-141.

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to know, or even to suspect, that his revisions had introduced false

statements of fact to the Challenged Statements.30

     Accordingly, the Court concludes that none of the evidence related

to the Editorial Board’s pre-publication research process supports the

conclusion that the Times published the Editorial with knowledge or

reckless disregard as to the Challenged Statements’ falsity.

     B. Bennet’s Recollection

     In addition to research conducted for the Editorial on June 14,

2017, Bennet theoretically could have had prior knowledge regarding

the relationship -- or lack thereof -- between the crosshairs map and

the Arizona shooting. But the record belies this possibility. Bennet

testified that he was not aware of the details of the Loughner case

and that he did not recall the controversies surrounding the crosshairs

map before the Editorial was written. Palin offered no admissible

evidence that would undermine Bennet’s testimony on this point. Nor

are Bennet’s contemporaneous communications inconsistent with his

testimony. Accordingly, the Court concludes that Palin has not proved

that Bennet had any prior recollection of the Arizona shooting from

which a rational jury could infer that he published with actual malice.

     Bennet testified that he did not recall seeing the crosshairs map

or any press coverage about it when the map was originally released




     30 Nor was there any other research that could have informed
Bennet’s state of mind on June 14, 2017, because he testified that he
relied on Lett’s research and did no independent research himself. Tr.
610, 621.

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in 2010. Tr. 607. Nor does Bennet recall seeing any posts on Twitter

that    Palin     made   in   connection    with   the   map.     Id.   Indeed,   Bennet

testified that at the time he revised the Editorial, he did not have

a   mental      image    of   the   map   and    “was   relying    on   [Williamson’s]

description of it in the piece.”31 Id.; see also Tr. 705.

       Bennet also denied having any recollection of specific articles

he read in 2011 or thereafter about the Arizona shooting that discussed

Loughner’s mental state at the time of his attack.32 Tr. 620. Bennet



        Palin had sought to offer evidence regarding James Bennet’s
       31

brother, Michael Bennet, who has served during all times relevant to
this case as the Democratic Senator representing Colorado. Palin had
argued both that James Bennet’s relationship to his brother could
establish bias and that it would have made James Bennet more likely
to have been aware of the cross hairs map at the time it was published.
See, e.g., Tr. 501-502; ECF 147. However, the Court ultimately
sustained the Times’ objections, articulated on the record and in a
motion in limine, see ECF 136, and excluded this evidence both on
grounds of relevance, since plaintiff’s counsel had laid no foundation
adequate to support either asserted theory of relevance, and on Rule
403 grounds. Tr. 502-503.

     Palin adduced no affirmative evidence that Bennet or others on
the Times’ Editorial Board were biased, fairly or unfairly, against
Palin. Even had Palin been able to elicit such evidence, whether
arising from James Bennet’s relationship with his brother or from any
other source, that would not have established actual malice. See,
e.g., Harte-Hanks Commc’ns, 491 U.S. at 666; Buckley v. Littell, 539
F.2d 882, 889 (2d Cir. 1976). (“Repeatedly the Court has said that ill
will toward the plaintiff or bad motive, indeed, hatred, spite or
desire to injure, are not the kind of ‘malice’ that the New York Times
Co. v. Sullivan test comprehends.”).

        Palin had sought to offer several articles written by the
       32

commentator Andrew Sullivan who published a blog called The Daily Dish
that was associated with website of The Atlantic magazine at the time
of the Arizona shooting, when Bennet was the editor of The Atlantic.
The Daily Dish articles concerned the investigation into Loughner’s
attack and the allegation made in its immediate aftermath, but
ultimately discredited, that the cross hairs map played a role in
causing Loughner to commit the mass shooting. Plaintiff’s counsel
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did, however, have the general recollection of learning from media

reports that Bennet “was deranged.” Tr. 621. But Bennet testified that

he was unaware on June 14, 2017 “whether or not Jared Loughner had

seen the crosshairs map,” because, he explained “I hadn’t reported

that myself and I don’t think I read any reporting on that. So I didn’t

know.” Tr. 720. Still, he testified that he had “remember[ed] that

there had been a debate ... after the shooting ... about exactly this

issue, about, you know, inciting rhetoric, but my memory of that was

vague.” Tr. 702-703. He did not think to look into this issue, Bennet

explained, because he “was functioning as the editor, not the reporter

on the piece, so [he] wouldn’t normally do the reporting in a situation

like this, particularly when ... on a tight deadline.” Tr. 721.

     Bennet continued:

     I didn’t think then and don’t think now that the map caused Jared
     Loughner to act. I didn’t think we were saying that, and therefore
     I wouldn’t have -- the question wouldn’t have entered my mind,
     didn’t enter my mind to research that question.




intended to offer these articles to show that Bennet knew that the
allegations of a link between Loughner and the map had been
discredited. However, plaintiff’s counsel was unable to offer an
adequate foundation for these articles’ admission. The record reflects
that Bennet had no editorial responsibility over The Daily Dish, and
plaintiff’s counsel never elicited any testimony or proffered any
other evidence that Bennet had in fact read the articles in question.
Accordingly, the Court excluded the articles under Fed. R. Evid. 401
and 402, subject to reconsideration. Tr. 503-511. Specifically, the
Court provided plaintiff’s counsel the opportunity to conduct voir
dire of Bennet outside the presence of the jury to lay additional
foundation for the articles’ admission. Tr. 508. However, plaintiff’s
counsel never availed themselves of this opportunity.

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 Tr. 721. Palin might argue that the first sentence of this comment

indicates that Bennet did not believe that what he was writing was

true. But the Court concludes that is not a reasonable reading of

Bennet’s answer and that such a reading would be inconsistent with

Bennet’s testimony overall. The answer as a whole explains that

Bennet’s intention was to convey a message that was consistent with

his understanding of the Arizona shooting. As Bennet explained a few

answers earlier, “when politicians get shot, I suspect it has something

to do with politics, and I think that an atmosphere of highly charged

political rhetoric makes such, you now, terrifying events more likely.”

Tr. 720. Accordingly, Bennet’s statement that he “didn’t think then ...

that the map caused Jared Loughner to act” cannot reasonably be read

to mean that he thought the map did not contribute at all to the Tucson

attack. Rather, the answer must be read to explain that because Bennet

did not intend to convey that the crosshairs map directly caused

Loughner to act, he therefore did not consider the need to research

the veracity of that assertion. In any event, the statement does not

suggest that Bennet knew or suspected that there existed any official

or widely accepted conclusion that no link whatsoever existed between

Loughner’s attack and the map. Therefore, it cannot be reasonably

inferred from this answer that Bennet published the Editorial with

actual malice.

     The evidence reflects that Bennet did not introduce the crosshairs

map to the draft Editorial, nor did he direct Williamson or anyone

else at the Times to refer to Palin in the Editorial. See Tr. 720.

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True, Bennet brought up the Giffords shooting in his 12:41 p.m. email,

which stated:

      Hey Elizabeth -- As Bob has said there’s most likely a gun control
      point to be made here. The other question is whether there’s a
      point to be made about the rhetoric of demonization and whether
      it incites people to this kind of violence. Hard for me to imagine
      that Bernie himself is guilty of anything like that. But if
      there’s evidence of the kind of inciting hate speech on the left
      that we, or I at least, have tended to associate with the right
      (e.g., in the run-up to the Gabby Giffords shooting) we should
      deal with that.

DX-17. Bennet explained that Loughner’s shooting of Representative

Giffords   was   “the   obvious   precedent”    for   the   “violence      against

politicians”     in   the   Virginia   shooting,   Tr.    635,     and   that   his

“assumption is that when a politician gets shot, that politics probably

had something to do with it,” Tr. 704; see also Tr. 720. Bennet also

reasonably explained the editorial guidance in his 12:41 email as a

proposal for Williamson to research, rather than a directive for her

to implement:

      I think “whether” is an important word in this sentence. You
      know, I’ve got it there twice. I’m -- I’m putting this to my
      colleagues as -- I’m raising it as a point to be considered as
      something we might include, you know, the other question is
      whether there’s a point to be made about this. And then I say the
      point -- in my mind, the point is whether it incites people to
      this kind of violence. I didn’t write that it incites people to
      this kind of violence. And I think that’s a significant
      difference. My intention was to raise a question, to make an
      argument that this was this danger but not to assert it as a
      matter of fact. Because like the easy availability of guns, you
      know, I don’t have -- I can’t prove -- I can’t prove that this
      kind of rhetoric actually, you know, does lead to this sort of
      violence.

Tr.   700-701.    Bennet    further    testified   that     when    he   reviewed

Williamson’s full draft just after 5:00 p.m., he understood the



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reference to the crosshairs map to be “the specific example that

[Williamson] returned with of incitement or incendiary rhetoric, and

I just trusted that it was ... an example of that based on her

characterization.”     Tr.   719.    While    Bennet     then    inaccurately

strengthened Williamson’s language in a manner that led to the factual

error, none of Bennet’s editorial direction from earlier in the day

supports the proposition that Bennet knew or suspected that Loughner’s

actions were wholly unrelated to the crosshairs map.

     If anything, the record as a whole reflects that Bennet had a

general, albeit inaccurate, recollection (or, perhaps, assumption)

that the Arizona shooting was preceded by “inciting” political rhetoric

and that he incorrectly understood Williamson’s reference to the

crosshairs map as confirmation of that connection. If that account

does reflect Bennet’s thought process, then it undermines, rather than

strengthens, any inference that he knew or suspected that his revision

introduced falsity to the Editorial.

     In sum, Palin adduced no evidence suggesting that Bennet (and

therefore the Times) was aware, at the time “America’s Lethal Politics”

was published, that the hypothesized link between her crosshairs map

and Loughner’s attack had been widely rejected.

     C. Other Evidence

     As discussed above, Palin failed to offer any affirmative evidence

supporting the inference that Bennet knew or suspected that his

revisions introduced falsity to the Editorial. This alone suffices for

the Court to conclude that Palin failed to adduce evidence sufficient

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for a reasonable jury to find by clear and convincing evidence that

Bennet published with actual malice. A public figure cannot rely solely

on   the     chance   that    the    jury       declines    to    credit   the    defendant’s

testimony      denying     that     he    had    the   necessary     state   of    mind.     See

Anderson, 477 U.S. at 256; Contemp. Mission, 842 F.2d at 621-622; see

also § III.B, supra. Nonetheless, the record reflects a wealth of

other evidence that is incompatible with the inference that Bennet

knew    or    suspected      that    his    revision        introduced     falsity      to   the

Editorial, even if that evidence is viewed in the light most favorable

to Palin.

        First, the context of Bennet’s revision in the Times’ editing and

fact-checking processes belies the inference that he intentionally or

recklessly published false information. Far from Palin’s allegation

that Bennet intentionally defamed her by forcing the Editorial Board

to write a piece in accordance with his diktats because he purportedly

held a political grudge against her or her positions, the evidence

shows      that   Bennet     did    not     seek      out   the   opportunity      to   revise

Williamson’s draft. The uncontroverted testimony is that Cohn brought

the draft Editorial to Bennet’s attention because she thought that the

draft’s argument was unclear; Bennet did not direct Cohn, Williamson,

or anyone else to involve him in the editing process for “America’s

Lethal Politics.” See Tr. 520, 636. After Bennet completed his revision

at 7:21 p.m., DX-30 at 178, he immediately emailed Williamson, asking

her to “[p]lease take a look.” PX-163. Bennet testified that his

request to “[p]lease take a look” was intended to convey to Williamson

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that she should review the piece for fact-checking issues. Tr. 638.

This request is incompatible with the inference that Bennet published

with actual malice.

     Since Bennet was acting as the editor, and since he had not

conducted any of the reporting himself, sending a “playback” of the

Editorial to the primary author, Williamson, was consistent with Times

practices, as they were consistently explained at trial. See Tr. 639,

577. Bennet also submitted his draft to the other editors who were

responsible    for    ensuring   the    quality,     clarity,   and   accuracy   of

Editorial Board publications. Accordingly, after Bennet completed his

revision, the draft was reviewed, edited, and (in some cases) corrected

by   Williamson      (fact   checking),       Cohn   (editing),   Lepping      (fact

checking), Semple (editing), and Levine and Rakowski (copy editing).

See supra § I.D. The thoroughness of these checks was obviously limited

by the fact that the print deadline was less than an hour after Bennet

saved his draft to Backfield. But the record reflects that this time

pressure is routine in the daily newspaper business and not at all

suggestive of actual malice.

     The Court therefore concludes that, even taking every inference

in   Palin’s   favor,    Bennet’s      compliance     with   these    normal   pre-

publication procedures is consistent with the behavior of a high-

ranking editor who is somewhat removed from the reporting details

underlying the piece and so was relying on the established processes

to ensure that his revisions did not introduce errors. Those processes

may have failed in this case; but, nonetheless, Bennet’s submission

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of the Editorial to several layers of pre-publication review is

inconsistent with his intentional or reckless publication of false

information.

       Second, Bennet’s post-publication33 email exchange with New York

Times columnist Ross Douthat about the criticism of the Editorial

emerging on Twitter is inconsistent with Bennet having already known

or suspected that his revisions introduced falsity. After Douthat

explained that the Editorial had the facts of the Loughner case wrong,

Bennet responded by stating, in part, that his “understanding was that

in the Giffords case there was a gun sight superimposed over her

district; so far in this case we don’t know of any direct threat

against any of the congressmen on the field.... That’s not to say ...

that    the    violence    in   [this]   case   was   caused   by   the   pol[i]tical

rhetoric.”34 PX-174. Bennet’s response does not specifically insist

that he was correct to assert that “the link to political incitement

was clear,” but he does not state or imply that he believes the



       See Stern v. Cosby, 645 F.Supp.2d 258, 280 n.14 (S.D.N.Y. 2009)
       33

(holding that post-publication statements may be considered as
evidence of the defendant’s pre-publication state of mind) (Chin, J.).
       34This email’s accurate description of the crosshairs map
contrasts with the inaccurate description of the map in the published
Editorial and, when viewed in the light most favorable to Palin, could
support the inference that Bennet knew that the description of the map
Williamson had drafted was false. But Palin does not contend that the
inaccuracy in the map’s description was a defamatory falsehood; Palin
instead complains about the asserted link between her PAC’s map and
Loughner’s attack. Accordingly, no reasonable jury could find that
this discrepancy establishes that Bennet published with actual malice
as to the falsity of the allegedly defamatory aspects of the Challenged
Statements.

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Editorial to make a false assertion of fact. Bennet writes instead

that the “specific” link between the crosshairs map and Representative

Giffords does not mean that the map “caused” Loughner’s violence, a

message he testified he did not “intend[] to send.” Tr. 645.

     After checking Twitter to read some of the criticism of the

Editorial, Bennet sent a text message to Williamson asking, about “the

Giffords comparison.” DX-46. Bennet asked Williamson, “Do we have it

right?” Id. Even viewing this message and the associated testimony in

the light most favorable to Palin, it suggests that at 11:38 p.m. on

June 14, 2017, Bennet did not know whether the “link” asserted in the

Editorial between the Arizona attack and “political incitement” was

accurate. The late-night message, which Bennet said he sent “[b]ecause

[he] was really worried,” Tr. 747, is inconsistent with Bennet having

already known or suspected that the asserted link was false.

     Bennet’s emails and text messages sent the next morning are also

inconsistent with him having already known or suspected that the

Challenged Statements were false. At 5:08 a.m. -- an “unusual[ly]”

early time for Bennet to be emailing, Tr. 282 -- Bennet told Williamson

and Lepping, in part:

     I don’t know what the truth is here but we may have relied too
     heavily on our early editorials and other early coverage of that
     attack. If so, I’m very sorry for my own failure on this
     yesterday. In any case I’d like to get to the bottom of this as
     quickly as possible this morning and correct the piece if needed.
     Can you two please put your heads together on this first thing
     this morning? Please skip the morning meeting if necessary.

PX-191. There are several aspects of this message that undermine the

inference that Bennet had already known or suspected falsity.

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       First, Bennet states “I don’t know what the truth is here.” This

was an unusual admission: Lepping testified that she had never heard

these words from an editor before. Tr. 440. While it may have been

negligent for the Times to publish an article that could be read as

making a serious accusation without checking if the accusation was

true, “there is a critical difference between not knowing whether

something is true and being highly aware that it is probably false.

Only    the     latter   establishes    reckless    disregard   in   a   defamation

action.”35 Liberman, 80 N.Y.2d 438.

       The second significant aspect about the email is that Bennet

instructed Williamson and Lepping to “get to the bottom of [the factual

question] as quickly as possible ... and correct the piece if needed.”

PX-191. Later that morning, in a text message to Williamson, Bennet

reiterated       that    he   “need[ed] ...    a   rock-solid   version”       of   the

correction, which he did not “want to soften if ... we don’t need to

-- if there was no link we should say so.” DX-46 at 2. The Court

concludes that these directives are irreconcilable with the suggestion

that Bennet purposefully or recklessly published false information.

Had he known or suspected the information was false before publication,




       The Court asked during oral argument for the parties to identify
       35

any caselaw that concerned whether the standard for reckless disregard
is affected where the allegedly libelous statement had levied serious
charges, criminal or otherwise, against the plaintiff. Tr. 1260-1262,
1277. There was extensive argument on this point, and the Court was
ultimately persuaded that none of the cases identified by plaintiff’s
counsel stood for any such proposition that would reduce her burden
of proof on actual malice. See generally Tr. 1264-1281.

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he likely would have been defensive, avoided issuing a correction to

the Editorial, or tried to minimize the correction’s confession of

error.

     The third significant aspect of Bennet’s email is his expression

of regret for the mistake, which he describes as his “own failure.”

Bennet’s apologetic tone was repeated elsewhere on June 15, 2017.

Williamson testified that Bennet was “crestfallen” about the error,

Tr. 183, and Bennet’s text messages later that morning also reflect

that he “fe[lt] lousy about” the error and that he was “sorry.” DX-46

at 2. When working on the Twitter posts that would disseminate the

first correction, Bennet edited the language proposed by another New

York Times staff member to add an apology for the error and thank

readers for “call[ing] us on the mistake.” DX-53 at 1; Tr. 1033. Bennet

also drafted a statement in response to questions from a CNN media

reporter in which he stated that “I, James Bennet, do apologize to

[Sarah Palin] for this mistake.” DX-60 at 2. However, a member of the

New York Times Co. public relations staff did not pass along this

statement to CNN, so it was never published. PX-236. But for the

purpose of assessing Bennet’s state of mind, it is not relevant whether

the apology ultimately reached Palin. What matters is that, as Bennet

testified, “I tried [to apologize] that day. I did -- I thought I had

apologized to her. I went home that night thinking I had made a

personal apology to the Governor.” Tr. 675. The Court concludes that

even applying the Rule 50 presumptions, Bennet’s private and (intended

to be) public expressions of apology, all made before the prospect of

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litigation had arisen, are inconsistent with his having intentionally

or recklessly introduced the factual error to the Editorial.

       Accordingly, the Court’s review of the remaining evidence in the

record that is relevant to Bennet’s pre-publication state of mind

weighs heavily and uniformly against finding that he knew or recklessly

disregarded that his revisions introduced false statements of fact

into the Editorial.

V.     Conclusion

       For the reasons set forth above, the Court finds that Palin

adduced no affirmative evidence that Bennet knew that the Challenged

Statements    were   false   or   recklessly     disregarded   their   probable

falsity. The Court is therefore bound to conclude that no reasonable

jury could find that Bennet, and therefore The New York Times Co.,

published “America’s Lethal Politics” with actual malice. Clear and

convincing proof of knowledge or reckless disregard for falsity is an

essential element of a public figure’s libel claim. It is required

both    by   Sullivan’s    construction     of   the   First   Amendment    and,

independently, by N.Y. Civil Rights L. § 76-a(2). Palin thus failed,

as a matter of both state and federal law, to carry the heavy burden

necessary to prove her libel claim. So the Court was obliged to grant

Defendants’ Rule 50 motion and dismiss the action with prejudice.

       Although the Final Judgment ultimately rests on the Court’s

dismissal of the action under Rule 50, that legal conclusion is

reinforced by the jury’s verdict that defendants are not-liable. The

Court continues to have great confidence in the integrity of the jury’s

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verdict,        notwithstanding      that        a     few      jurors      became     aware,

involuntarily, of the bare fact that the Court intended to dismiss the

case as a matter of law. In a case attracting a high degree of public

attention, it is inevitable that at least some jurors will encounter

information outside the Court’s control, even if they are completely

conscientious. Here, of course, it was the timing of the Court’s

announcement of its Rule 50 determination that increased the risk that

some    jurors     would    encounter   some         snippets    of   the    Court’s   legal

conclusion, and that is unfortunate.36 But the jurors who saw the media

coverage say they did as instructed: they turned away from the reports

and set the information aside for the remainder of the deliberation.

The jurors, both those who reported awareness of the Rule 50 decision

and the others, insisted to the Court’s law clerk that the information

played no role whatsoever in their deliberations and did not affect

the    outcome.     While    some   outsiders,         totally    unfamiliar     with    the

exceptional jury in this case,37 have been quick to assume otherwise,



        The Court is frank to confess that it was not familiar with
       36

the term “push notification” when it was raised by counsel for the
Times and did not fully appreciate the potential for jurors to be
involuntarily informed about the Court’s intended ruling through their
smartphones. But it must also be remembered that when defense counsel
referred to the term “push notifications,” Tr. 1307, the Court
responded by doing what defendants’ counsel requested, i.e., reminding
the jurors of their duty to disregard anything they heard about the
case in the media. Defendants’ counsel sought no further relief (such
as a direction to the jurors to turn off any automated alerts for the
duration of the trial) and plaintiff’s counsel did not seek any such
step or indeed any instruction to the jury whatsoever.

        As the Court remarked on several occasions during the trial
       37

itself, the jury in this case was a model jury, carefully watching the
witnesses, taking copious notes, and in general, showing that they
                                            65
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the Court knows of no reason why the highly conscientious citizens who

served as jurors in this case would be so firm that they were unaffected

by this information unless it were true. The Court is thus left with

the definite conviction that the information did not remotely affect

the ultimate verdict.

     It also bears repeating that the Final Judgment entered for

defendants does not legally depend on the verdict. The verdict could

only acquire legal significance if the Court’s Rule 50 decision were

overturned on appeal and the Court of Appeals then decided to give

effect to the verdict rather than remand for retrial.

     It remains only to add that the Court’s decision to enter judgment

as a matter of law also reflected its duty to ensure that public figure

libel   actions     with    constitutionally         inadequate   evidence    do   not

erroneously result in the imposition of liability that might chill

protected speech. In libel cases that concern public figures and

matters    of   public     concern,   the    court    “must   make   an   independent

examination of the whole record so as to assure [itself] that the

judgment does not constitute a forbidden intrusion on the field of

free expression.” Sullivan, 376 U.S. at 285. That principle is no less

true in cases where the alleged libel was provably false but neither

intentionally nor recklessly so. As the Supreme Court later elaborated:

     [J]udges ... must exercise such review in order to preserve the
     precious liberties established and ordained by the Constitution.
     The question whether the evidence in the record in a defamation


intended to decide the case based solely on the evidence. See, e.g.,
Tr. 689, 878, & 1324.

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      case is of the convincing clarity required to strip the utterance
      of First Amendment protection is not merely a question for the
      trier of fact. Judges, as expositors of the Constitution, must
      independently decide whether the evidence in the record is
      sufficient to cross the constitutional threshold that bars the
      entry of any judgment that is not supported by clear and
      convincing proof of “actual malice.”

Bose Corp., 466 U.S. at 510-511; see also Harte-Hanks Commc’ns, 491

U.S. at 697 (reading Bose as requiring “trial judge[s]” to “make their

own   ‘independent’    assessment    of    the    facts   allegedly     establishing

actual malice”) (Scalia, J., concurring). This independent duty to

review the whole record is particularly important where the jury is

tasked    primarily    with   “distinguishing        actual    malice    from   mere

negligence,” because this is an area in which “jurors have considerable

trouble.” Tavoulareas v. Piro, 817 F.2d 762, 807 (D.C. Cir. 1987)

(R.B. Ginsburg, J., concurring). And, as this case demonstrates, the

stakes   of   the   distinction     between      negligent    error   and   reckless

disregard are significant: the preservation of the “area of breathing

space” that “[o]ur profound national commitment to the free exchange

of ideas, as enshrined in the First Amendment, demands that the law

of libel carve out ... so that protected speech is not discouraged.”

Harte-Hanks Commc’ns, 491 U.S. at 686.

      For all the reasons set forth above, the Court entered final

judgment as a matter of law in favor of The New York Times Co. and

James Bennet, because no reasonable jury could find that Sarah Palin

proved that the defendants published “America’s Lethal Politics” with

actual malice.




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     SO ORDERED.

New York, NY
March 1, 2022




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